Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 1 of 92




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

                                                Case No.:

  Pierce Robertson, Rachel Gold, Sanford Gold,
  Rahil Sayed, Christopher Ehrentraut, Todd
  Manganiello, Dan Newsom, William Ayer,
  Anthony Dorn, Dameco Gates, Marshall Peters,               CLASS ACTION COMPLAINT
  and Edwin Garrison, on behalf of themselves and
  all others similarly situated,                              JURY DEMAND

                 Plaintiffs,

  v.


  Mark Cuban, Dallas Basketball Limited, d/b/a
  Dallas Mavericks, and Stephen Ehrlich,

                 Defendants.
                                                         /

             CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL

         “I gotta add, I am a [Voyager] customer and I’ve been a customer for several
         months now. I like to use it, it’s easy, it’s cheap, it’s fast, and the pricing is actually
         really good, so we find it as a perfect fit for our Mavs fans and reaching Mavs fans
         of all ages.”
                 —Mark Cuban

         “In stocks and crypto, you will see companies that were sustained by cheap, easy
         money — but didn’t have valid business prospects — will disappear. Like [Warren]
         Buffett says, ‘When the tide goes out, you get to see who is swimming naked.”
                 —Mark Cuban

         “Mark is a tremendous advisor to me and we have a great relationship. He is a
         big believer in crypto. Sometimes the value someone brings is not what the public
         sees but where they give you guidance and help behind the scenes.”
                 —Stephen Ehrlich
Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 2 of 92




            Plaintiffs Pierce Robertson, Rachel Gold, Sanford Gold, Rahil Sayed, Christopher
  Ehrentraut, Todd Manganiello, Dan Newsom, William Ayer, Anthony Dorn, Dameco Gates,
  Marshall, and Edwin Garrison file this class action complaint on behalf of themselves, and all
  others similarly situated, against Mark Cuban (“Cuban”), Dallas Basketball Limited, d/b/a Dallas
  Mavericks (the “Mavericks”), and Stephen Ehrlich (“Ehrlich”).
                                             INTRODUCTION
            1.      On December 24, 2021, counsel for Plaintiffs and the class members brought a class
  action complaint styled Mark Cassidy v. Voyager Digital Ltd., et al., Case No. 21-24441-CIV-
  ALTONAGA/Torres (the “Cassidy Action”), alleging that the Deceptive Voyager Platform owned
  and operated by Voyager Digital Ltd. (“Voyager”) and Voyager Digital LLC (“VDL”) was an
  unregulated and unsustainable fraud, similar to other Ponzi schemes. It was specifically alleged in
  detail in that complaint how Defendants Mark Cuban and Stephen Ehrlich were key players
  who personally reached out to investors, individually and through the Dallas Mavericks, to induce
  them to invest in the Deceptive Voyager Platform.
            2.      Cuban and Ehrlich, as will be explained, went to great lengths to use their
  experience as investors to dupe millions of Americans into investing—in many cases, their life
  savings—into the Deceptive Voyager Platform and purchasing Voyager Earn Program Accounts
  (“EPAs”), which are unregistered securities. 1 As a result, over 3.5 million Americans have now
  all but lost over 5 billion dollars in cryptocurrency assets. This action seeks to hold Ehrlich, Cuban,
  and his Dallas Mavericks responsible for paying them back.




  1
      https://currency.com/crypto-brokerage-scores-dallas-mavericks-sponsorship (accessed August 10, 2022).


                                                       2
Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 3 of 92




        3.   As alleged in paragraphs 1–8 of the Cassidy Complaint:

                     Voyager has quickly become one of the most utilized avenues for nascent
             investors to purchase cryptocurrency, and thus has already reaped hundreds of
             millions of dollars in revenue since 2019, which is increasing exponentially every
             week. The Voyager Defendants operate a multi-billion-dollar mobile application
             cryptocurrency investment service (the “Deceptive Voyager Platform”) that places
             cryptocurrency trade orders on behalf of users like Plaintiff and Class Members.
             The Voyager Defendants specifically target young and inexperienced investors,
             who are certainly new to cryptocurrency trading and mainly utilize mobile apps
             (rather than any sophisticated software) for trading, through the use of youth-
             forward marketing, promises of interest payments on cryptocurrency holdings (if a
             minimum balance is met), and uniform representations that the Deceptive Voyager
             Platform is “100% Commission-Free,” while also assuring customers that they will
             receive the best possible price on cryptocurrency trades. As will be explained with
             extensive expert support, the Voyager Defendants’ statements and representations
             are false, misleading and certainly violate numerous state and federal consumer
             statutes.

                     The Deceptive Voyager Platform is based upon false pretenses, false
             representations, and is specifically designed to take advantage of investors that
             utilize mobile apps to make their investments, in an unfair, unsavory, and deceptive
             manner. Simply put, Plaintiffs will prove that the Deceptive Voyager Platform is a
             house of cards, built on false promises and factually impossible representations that
             were specifically designed to take advantage of the cryptocurrency craze to the
             direct detriment of any ordinary investor.

                     The Voyager Defendants offer what they misleadingly claim to be “100%
             Commission-Free” cryptocurrency trading services, in order to unfairly obtain an
             edge over their competition, such as Coinbase, Gemini, Kraken, or Binance, who
             openly disclose the commissions and fees they charge on cryptocurrency trades.
             This tactic directly evolved from the alleged “no commission” alternatives offered
             by numerous brokerage houses in the 1980s.


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Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 4 of 92




                    In reality and unbeknownst to the Voyager Defendants’ unsuspecting and
             largely unsophisticated consumers (especially considering that cryptocurrency is an
             emerging and innovative market with differences from traditional stock exchanges
             not appreciated by the average retail consumer), the Voyager Defendants never
             disclose that they intentionally set the pricing on their Voyager Platform high
             enough that they do, in fact, collect exorbitant hidden commissions on every
             cryptocurrency trade.

                    Capitalizing on their customers’ naivete by using their proprietary systems
             to throw up smoke screens, including “Smart Order Routing,” the “Voyager Pricing
             Engine,” and the “Proprietary Fills Algorithm,” numerous experts explain that the
             Voyager Defendants place their own financial interests at the forefront, and are able
             to collect on average what is likely to be more in hidden commissions than their
             competition collect from their disclosed commissions.

                    The very public support from the Dallas Mavericks and their owner, Mark
             Cuban, including their recent massive investment in the Deceptive Voyager
             Platform, gives a great illustration of how the Voyager Defendants are targeting
             unsophisticated investors with false and misleading promises of reaping large
             profits in the cryptocurrency market.

                    Mark Cuban recently spoke at a Dallas Mavericks press conference,
             conducted over the internet, where he strongly supported and touted the partnership
             between his company and the Voyager Defendants. Mr. Cuban proudly described
             how he would personally help significantly increase scope and presence of the
             Deceptive Voyager Platform for those with limited funds and experience:

                    You know, there’s a lot of hype, there’s a lot of discussion, but most people
                    don’t understand the fundamentals behind it. We’re going to try to bring
                    that level of education to our fans and to our joint customers.”
                    To put it simply: there’s untapped potential in the future of digital currencies
                    and it’s an attractive investment for novice investors who might only have
                    $100 to start. That’s where Voyager enters the picture.
                    In other words, it’s a way to earn high returns while also getting skin in the
                    game and the Voyager platform makes the process easy and simplified for



                                               4
Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 5 of 92




                            fans of all ages. The 60+ crypto assets allows you to build a diverse portfolio
                            from a single account.
                            You don’t have to spend a lot of money in order to learn. It’s not like the
                            stock market where it’s almost impossible, except on a few platforms, to
                            spend $10 and get started. My now 12-year-old son got me in Dogecoin
                            when it was less than a penny. I was like “let’s do this” because it’s a cheap
                            way for him to learn how all of this works. While you have to put in a $100
                            to get the $100 bonus the next two days, if you don’t have a hundred dollars
                            and you just want to download the app and put in $5 and buy SHIBA INU
                            (SHIB) and Dogecoin (DOGE), there’s a lot of ways to inexpensively start. 2
                            Voyager’s President and Chief Officer, Steve Ehrlich agreed with Mr.
                  Cuban and added as follows:

                            That’s one of the advantages of Voyager. You can actually download the
                            app and fund your account and trade in three minutes or less. We make it
                            really simple. We have a very easy-to-use and integrative platform that
                            allows you to get engaged in the crypto market very quickly. That’s one of
                            the values of Voyager. You’ll be trading in three minutes or less.
                            About 220 million people have crypto right now and we (anticipate) a
                            billion in four years. So that shows you where we can actually go with
                            crypto and crypto adoption. Now the comparison there is the internet. It took
                            the internet eight years, for the same time frame, for the internet to grow
                            that fast. So it’s a great time to enter the space and learn more. 3
           4.     The allegations in the Cassidy complaint—and specifically Mark Cuban’s role in
  promoting      the       Deceptive    Voyager       Platform—received      national    attention.    See
  https://www.jdsupra.com/legalnews/new-lawsuits-target-cryptocurrency-9604406/ (summarizing
  the allegations and explaining that “Mark Cuban, owner of the NBA’s Dallas Mavericks, is a major
  stakeholder in Voyager. The complaint alleges that he made comments at a press conference in
  which he specifically targeted unsophisticated investors ‘with false and misleading promises of
  reaping          large          profits        in        the         cryptocurrency          market.’”);
  https://www.law.com/dailybusinessreview/2021/12/29/mark-cuban-linked-crypto-platform-hit-
  with-florida-nationwide-class-action-lawsuit-in-miami-federal-court/?slreturn=20220701214901
  (same, in the Daily Business Review).
           5.     After the Cassidy Complaint was filed, the following important actions took place:



  2
      https://www.mavs.com/mavsvoyager/
  3
      Id.


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Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 6 of 92




         (a) the United States Securities and Exchange Commission (SEC) began an
             enforcement review focused on whether Voyager’s Earn Program Accounts
             (“EPAs”) constitute unregistered securities;
         (b) seven state Attorney Generals (New Jersey, Alabama, Kentucky, Oklahoma,
             Texas, Vermont and Washington) took specific action finding that Voyager was
             violating their state laws, including issuing “cease and desist” letters to
             Voyager, finding that the EPAs, like the one Plaintiff Mark Cassidy was offered
             and sold by Voyager, was an unregistered security, prohibiting the crypto-asset
             broker-dealer from selling any more unregistered securities (finding that
             Voyager used these EPAs to raise millions of dollars in revenue worldwide as
             of March 1, 2022 (thousands of these EPAs were Florida-based);
         (c) On March 29, 2002, the State of New Jersey Bureau of Securities entered a
             Cease and Desist Order against Voyager, finding that the Earn Program is not
             exempt from registration under the law, and instead that it must be registered—
             and as a result, Voyager’s stock price tanked by 25% in a day and is down over
             80% for the year; 4
         (d) On February 14, 2022, crypto trader Block-Fi entered into a $50 million dollar
             settlement with the state regulators and $50 million dollar settlement with the
             SEC and agreed to stop selling its interest-bearing cryptocurrency accounts
             until they were registered with state and federal securities regulators;
         (e) In September 2021, the New Jersey Bureau issued a Summary Cease and Desist
             Order against Celsius Network LLC, whose unlawful unregistered securities
             had raised at least $14 billion nationwide; 5 and,
         (f) the largest cypto exchange, COINBASE, dropped all plans to offer the same
              lending rewards program after the SEC threated to sue them. 6
         6.      Voyager’s CEO, Steve Ehrlich, told his investors, and the public, on his last
  investor call, that Voyager is now determining what to do in regards to all of these state and federal
  investigations: “… that’s a conversation between myself, out internal GC, our advisors. And we
  have a very, very deep team, and we’re evaluating all that at this point in time.” 7

  4
       https://seekingalpha.com/article/4498956-voyager-digital-plunged-25-percent-heres-why (accessed
  August 10, 2022); https://seekingalpha.com/article/4503716-voyager-digital-buy-dip-during-crypto-crash
  (accessed August 10, 2022)
  5
           https://www.njoag.gov/new-jersey-bureau-of-securities-orders-cryptocurrency-company-voyager-
  digital-to-stop-offering-and-selling-interest-bearing-accounts/ (accessed August 10, 2022)
  6
            https://www.coindesk.com/policy/2022/01/26/sec-scrutinizing-crypto-firms-over-interest-paying-
  services-report/ (accessed August 10, 2022)
  7
    Transcript of Voyager Digital FY2Q 2022 Earnings Call dated February 15, 2022, Exhibit A.


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Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 7 of 92




         7.      As the Cassidy action proceeded through discovery and motion practice on issues
  relating to arbitration and personal jurisdiction over the Voyager entities, and just before class
  counsel was able to serve third party discovery on Cuban (who, discovery in the Cassidy action
  showed, personally asked Ehrlich whether he should be worried about the Cassidy action), the
  news broke that Voyager’s irresponsible lending activities drove them to lose hundreds of millions
  of dollars of customer cryptocurrency assets, and Voyager quickly filed Chapter 11 bankruptcy. 8
  As a result, the Cassidy action is currently stayed by virtue of the automatic stay.
         8.      Before filing for Chapter 11 bankruptcy, just like Scott Rothstein did in his
  infamous Ponzi scheme, it was a necessary element, to continue to persuade, influence and
  convince the common investor, as cash was getting scarce, to continue to put their earned money
  (sometimes life savings) into specifically the Deceptive Voyager Platform. To do this, Stephen
  Ehrlich, CEO and founder of Voyager, made a plethora of false and misleading public statements
  that were broadcast around the country through the internet, and enlisted the help of Mark Cuban
  to do the same, who also invested his own money into the Deceptive Voyager Platform for this
  purpose.




  https://www.mavs.com/photos/voyager-press-conference/ (accessed August 10, 2022).
         9.      Importantly, although Cuban disclosed the partnership between Voyager and the
  Dallas Mavericks, he has never disclosed the nature, scope, and amount of compensation he has

  8
            https://www.cnbc.com/2022/07/06/crypto-firm-voyager-digital-files-for-chapter-11-bankruptcy-
  protection.html (accessed August 10, 2022).


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Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 8 of 92




  personally received in exchange for the promotion of the Deceptive Voyager Platform, which the
  SEC has explained that a failure to disclose this information would be a violation of the anti-touting
  provisions of the federal securities laws. 9
          10.     The SEC took action against boxing champ Floyd Mayweather and music producer
  DJ Khaled after they were paid by cryptocurrency issuers to tweet promotional statements about
  investing in Initial Coin Offerings (ICOs), ordering them both to pay disgorgement, penalties and
  interest for promoting investments in ICOs, including one from cryptocurrency issuer Centra Tech,
  Inc, for a combined total of $767,500 because they failed to disclose that their promotional efforts
  on Twitter were paid endorsements. 10
          11.     Other celebrities similarly accused and prosecuted for failing to disclose their paid
  endorsements include Kim Kardashian and basketball player Paul Pierce. 11 According to the
  Federal Trade Commission, cryptocurrency scams have increased more than ten-fold year-over-
  year with consumers losing more than $80 million since October 2020, due in large part to the use
  of such celebrity endorsements. 12
          12.     Cuban’s enthusiasm over the Voyager/Mavericks partnership was shared by Steve
  Erhlich, CEO and co-founder of Voyager, who said the company “could not be more excited”
  about partnering with the Mavs. 13 “This partnership gives us the opportunity to educate people all
  over the world on ways to use crypto in their everyday lives. We want to help people learn alternate
  ways to grow their wealth to achieve true financial freedom and build intergenerational wealth
  through crypto,” he added. 14
          13.     Ehrlich made it clear that Cuban was integral to his plan to push the Deceptive
  Voyager Platform on retail investors around the country: “What we think that we’ll be able to


  9
                        https://www.ubergizmo.com/2017/11/sec-celebrities-disclose-payment-cryptocurrency-
  endorsements/#:~:text=It%20has%20issued%20a%20statement%20warning%20celebrities%20that,witho
  ut%20disclosing%20that%20they%E2%80%99ve%20been%20paid%20for%20it (accessed August 10,
  2022).
  10
        https://news.bloomberglaw.com/us-law-week/insights-celebrity-endorsements-and-cryptocurrency-a-
  cautionary-tale (accessed August 10, 2022).
  11
        https://blockbulletin.com/news/altcoins/kim-kardashian-among-other-celebrities-sued-for-promoting-
  cryptocurrencies/ (accessed August 10, 2022).
  12
     https://florida.foolproofme.org/articles/770-celebrity-cryptocurrency-scam (accessed August 10, 2022).
  13
                https://decrypt.co/84639/crypto-broker-voyager-digital-partner-mark-cubans-dallas-mavericks
  (accessed August 10, 2022).
  14
                https://decrypt.co/84639/crypto-broker-voyager-digital-partner-mark-cubans-dallas-mavericks
  (accessed August 10, 2022).


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Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 9 of 92




  deliver—and it starts here, it starts in Dallas—is teaching people about decentralized finance,
  cryptocurrencies and nonrefundable tokens,” Voyager Digital CEO and Co-founder Steve Ehrlich
  said. “We really want to bring that to the community. We’ll start that now. And some say, ‘Why
  the Mavs?’ Because of Mark and the leadership he brings to the NBA when it comes to
  cryptocurrencies.” 15
         14.     Mark Cuban, in turn, went on record calling the Deceptive Voyager Platform “as
  close to risk free as you’re gonna get in the crypto universe.” 16
         15.     Cuban even hyped up the fact that he was investing his own money into the
  Deceptive Voyager Platform to further induce retail investors to follow in his footsteps: 17
         I gotta add, I am a customer and I’ve been a customer for several months now, I
         like to use it, it’s easy, it’s cheap, it’s fast, and the pricing is actually really good,
         so we find it as a perfect fit for our Mavs fans and reaching Mavs fans of all ages.
         16.     Cuban went so far in his promotion of Voyager that he had even staged a press
  conference with Voyager CEO Steve Ehrlich, where newly signed New York Knick Jalen
  Brunson, then a Maverick, asked, “If this is my first time getting into crypto, what are some key
  things I need to know?”




  15
     https://www.forbes.com/sites/doylerader/2021/10/28/dallas-mavericks-announce-five-year-partnership-
  with-cryptocurrency-brokerage-voyager-digital/?sh=64aacae92e99
  16
     https://www.proactiveinvestors.com/companies/amp/news/987495
  17
     https://www.youtube.com/watch?v=aB9GpBOroIw (accessed August 10, 2022)


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Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 10 of 92




         17.     “Yeah, you’re spending your money, so always be careful,” Cuban responded at
  the time. “But the other thing, look, there’s investments, things like Shiba Inu and Dogecoin, those
  aren’t investments. But Voyager … this is a good way to learn and it’s something you can do on
  your smart phone. You can start getting into this and saving your money and that’s just a unique
  opportunity.” 18 Ironically, Cuban concluded that “[i]n stocks and crypto, you will see companies
  that were sustained by cheap, easy money — but didn’t have valid business prospects — will
  disappear,” Cuban said. “Like [Warren] Buffett says, ‘When the tide goes out, you get to see who
  is swimming naked.’” 19
         18.     As the Texas regulators explain in their recent filing in the Voyager Chapter 11
  bankruptcy, misrepresentations regarding Voyager were made on a regular basis: 20

         Voyager claims it is a “fully compliant and licensed crypto broker” and touts its
         status as a public company, its listing on the Toronto Stock Exchange, and the “trust
         and transparency” resulting from its being a public company in Canada. These
         statements are materially misleading or otherwise likely to deceive the public
         because:
         • Respondents are not licensed as money service businesses in Texas to conduct
         currency exchange or money transmission activities defined by Chapter 151 of the
         Texas Finance Code;
         • Respondents are not registered with the Commodity Futures Trading Commission
         or the National Futures Association;
         • Respondents are not licensed, registered, or qualified, nor are their securities
         notice filed, with the United States Securities and Exchange Commission;
         • Respondents are not registered with the Texas State Securities Board to offer or
         sell securities in Texas, as required by Section 4004.051 of the Securities Act, and
         the Voyager Interest Accounts are not registered or permitted for sale in Texas, as
         required by Section 4003.001 of the Securities Act;
         • The Voyager Interest Accounts are not protected by the Securities Investor
         Protection Corporation, otherwise known as the SIPC, a federally mandated, non-
         profit, member funded United States corporation created under the Securities
         Investor Protection Act of 1970 that mandates membership of most US-registered
         broker-dealers;
         • The Voyager Interest Accounts are not insured by the Federal Deposit Insurance


  18
           https://nypost.com/2022/07/06/dallas-mavericks-fans-fume-at-mark-cuban-over-voyager-crypto-
  bankruptcy/ ; https://www.thestreet.com/investing/cryptocurrency/mark-cuban-caught-in-bankruptcy-of-
  crypto-lender-voyager
  19
           https://nypost.com/2022/07/06/dallas-mavericks-fans-fume-at-mark-cuban-over-voyager-crypto-
  bankruptcy/ ; https://www.thestreet.com/investing/cryptocurrency/mark-cuban-caught-in-bankruptcy-of-
  crypto-lender-voyager
  20
          https://www.ssb.texas.gov/sites/default/files/2022-04/20220412_FINAL_Voyager_NOH_312-22-
  2244.pdf (accessed August 10, 2022).


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Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 11 of 92




         Corporation, otherwise known as the FDIC, an agency that provides deposit
         insurance to depositors in the United States, or the National Credit Union
         Administration, otherwise known as the NCUA, an agency that regulates and
         insures credit unions;
         • Although Voyager’s stock is listed on the Toronto Stock Exchange, the Voyager
         Interest Accounts are not registered, qualified, or permitted in Canada and Voyager
         represents Canadian investors cannot invest in the Voyager Interest Accounts;
         • The Canadian laws that apply to Voyager’s securities listed on the Toronto Stock
         Exchange do not provide the same regulation or protection as domestic laws that
         apply to Voyager Interest Accounts Voyager sells exclusively to United States
         residents; and
         • Voyager is not disclosing material risks relevant to these statements, material
         information including the amount of principal used to fund subsequent transactions,
         the identity, nature, and creditworthiness of borrowers, the type, nature, and
         counterparties for transactions involving digital asset exchanges, digital assets,
         staking, arranging for staking, or proprietary trading, the risks associated with
         digital asset exchanges, individual digital assets, staking protocols, or proprietarily
         traded assets, and the profits and/or losses derived from transactions.
         19.     Voyager Digital LTD (“Voyager”) and Voyager Digital LLC (“VDL”) operate a
  multi-billion-dollar mobile application cryptocurrency investment service (the “Deceptive
  Voyager Platform”) that places cryptocurrency trade orders on behalf of users like Plaintiff and
  Class Members. These companies promise young, inexperienced investors interest payments on
  cryptocurrency holdings (if a minimum balance is met) and represent that the Deceptive Voyager
  Platform is “100% Commission-Free,” while also assuring customers that they will receive the
  best possible price on cryptocurrency trades.
         20.     The Deceptive Voyager Platform is based upon false pretenses, false
  representations, and is specifically designed to take advantage of investors that utilize mobile apps
  to make their investments, in an unfair, unsavory, and deceptive manner. Simply put, Plaintiffs
  will prove that the Deceptive Voyager Platform is a house of cards, built on false promises and
  factually impossible representations that were specifically designed to take advantage of the
  cryptocurrency craze to the direct detriment of any ordinary investor.
         21.     Put differently, the Deceptive Voyager Platform was a massive Ponzi scheme, and
  it relied on Cuban’s and the Dallas Maverick’s vocal support and Cuban’s monetary investment in
  order to continue to sustain itself until its implosion and Voyager’s subsequent bankruptcy.
         22.     In reality and unbeknownst to unsuspecting and largely unsophisticated consumers
  (especially considering that cryptocurrency is an emerging and innovative market with differences
  from traditional stock exchanges not appreciated by the average retail consumer), VDL never


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Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 12 of 92




  discloses that they intentionally set the pricing on the Voyager Platform high enough that they do,
  in fact, collect exorbitant hidden commissions on every cryptocurrency trade.
            23.     Ehrlich also misrepresented Voyager’s FDIC insured status, repeatedly stating that
  assets held in the Deceptive Voyager Platform are as “safe” as if they were in a bank, misleading
  customers and prospective customers with the false impression that any cryptocurrency assets held
  on the Deceptive Voyager Platform were FDIC insured. Ehrlich even misrepresented the extent of
  the FDIC insurance on USD holdings, misleading customers with the false impression that each
  Voyager customer could hold up to $250,000 in their individual Voyager account wallets and avail
  themselves of that important federal protection in the event Voyager failed. This is similar to the
  official stance of the Voyager entities, which was representing that “Your USD is held by our
  banking partner, Metropolitan Commercial Bank, which is FDIC insured, so the cash you hold
  with Voyager is protected,” Voyager’s website said, claiming deposits are “FDIC insured on USD
  $250,000.” 21 Voyager had also tweeted (@investvoyager, on November 12, 2020): Have you
  heard? USD held with Voyager is FDIC insured up to $250K. Our customers’ security is our top
  priority. Start growing your crypto portfolio today. 22 Similar misrepresentations were present on
  the Voyager website:




            24.     But those claims “are false and misleading,” officials from the FDIC and the
  Federal Reserve said in a letter to Voyager Thursday. Voyager’s claims “likely misled and were

  21
       https://www.cbsnews.com/news/voyager-fdic-insurance-federal-reserve/ (accessed August 10, 2022).
  22
       Id.


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Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 13 of 92




  relied upon by customers who placed their funds with Voyager and do not have immediate access
  to their funds,” the letter said. The officials demanded that the company scrub those claims from
  its website and social media, and give written confirmation by Monday that they’ve done so. 23
             25.   The FDIC is a government agency tasked with guarding the public’s bank accounts
  — such as checking, savings and CDs — against unforeseen losses. Having a FDIC insured
  account means that anyone who has up $250,000 deposited into a bank would have their money
  reimbursed if the bank unexpectedly fails. However, speculative investments such as stocks and
  cryptocurrencies typically aren’t FDIC insured. 24
             26.   Ehrlich, Cuban, and the Dallas Mavericks pushed these false representations,
  knowing full well they were false, and lent their credibility as experienced investors to dupe the
  public into investing into the Deceptive Voyager Platform.
             27.   As will be explained with extensive expert support, these statements and
  representations are false, misleading and certainly violate numerous state and federal consumer
  statutes.
             28.   Voyager also markets and offers for sale unregistered securities in the form of
  cryptocurrency interest-earning accounts. Since Voyager first introduced these unregistered
  securities to consumers in the United States in November 2019, it has referred to them by various
  names, including the “Voyager Interest Program” or the “Voyager Earn Program Account”
  (collectively, the “EPA”).
             29.   Voyager never registered the EPAs with the United States Securities and Exchange
  Commission (“SEC”) or with the financial regulators of Florida, New Jersey, California,
  Pennsylvania, Oklahoma, Tennessee, Alabama, Virginia, or Louisiana.
             30.   Defendants, who are seen and acknowledged by the general public as “experts” in
  cryptocurrency, have publicly supported and endorsed Voyager and have encouraged and even
  incentivized consumers into investing in Voyager.
             31.   Defendants, individually and through Voyager, engaged in and/or participated in
  an illegal offering and sale of unregistered securities and, in connection with the offering, engaged
  in fraudulent conduct and made material misstatements designed to deceive investors. By doing
  so, Defendants aided and abetted Voyager’s securities laws violations.

  23
       Id.
  24
       Id.


                                                   13
Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 14 of 92




         32.     Defendants have also misrepresented the reality behind Voyager’s Deceptive
  Platform and how it operates. Defendants’ representations regarding the “100% Commission-
  Free” Voyager Platform are false, deceptive, and are objectively very likely to deceive average
  consumers acting reasonably under the circumstances. Accordingly, Defendants’ conduct violates
  multiple consumer and securities statutes, including those in Florida, New Jersey, California,
  Pennsylvania, Oklahoma, Tennessee, Alabama, Virginia, or Louisiana.
         33.     Plaintiffs thus seek damages and restitution on behalf of themselves and the Class
  members.
                                               PARTIES

         34.     Plaintiff Pierce Robertson is a citizen and resident of the State of Florida. He is a
  natural person over the age of 21 and is otherwise sui juris. Plaintiff Robertson purchased an
  unregistered security from Voyager in the form of an EPA and funded the account with a sufficient
  amount of crypto assets to earn interest on his holdings. Plaintiff Robertson did so after being
  exposed to some or all of Cuban’s and Ehrlich’s misrepresentations and omissions regarding the
  Deceptive Voyager Platform as detailed in this complaint, and executed trades on the Deceptive
  Voyager Platform in reliance on those misrepresentations and omissions. As a result, Plaintiff
  Robertson has sustained damages for which Cuban and Ehrlich are liable.
         35.     Plaintiff Rachel Gold is a citizen and resident of the State of Florida. She is a natural
  person over the age of 21 and is otherwise sui juris. Plaintiff Ms. Gold purchased an unregistered
  security from Voyager in the form of an EPA and funded the account with a sufficient amount of
  crypto assets to earn interest on her holdings. Plaintiff Ms. Gold did so after being exposed to some
  or all of Cuban’s and Ehrlich’s misrepresentations and omissions regarding the Deceptive Voyager
  Platform as detailed in this complaint, and executed trades on the Deceptive Voyager Platform in
  reliance on those misrepresentations and omissions. As a result, Plaintiff Ms. Gold has sustained
  damages for which Cuban and Ehrlich are liable.
         36.     Plaintiff Sanford Gold is a citizen and resident of the State of Florida. He is a natural
  person over the age of 21 and is otherwise sui juris. Plaintiff Mr. Gold purchased an unregistered
  security from Voyager in the form of an EPA and funded the account with a sufficient amount of
  crypto assets to earn interest on his holdings. Plaintiff Mr. Gold did so after being exposed to some
  or all of Cuban’s and Ehrlich’s misrepresentations and omissions regarding the Deceptive Voyager
  Platform as detailed in this complaint, and executed trades on the Deceptive Voyager Platform in


                                                    14
Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 15 of 92




  reliance on those misrepresentations and omissions. As a result, Plaintiff Mr. Gold has sustained
  damages for which Cuban and Ehrlich are liable.
         37.     Plaintiff Rahil Sayed is a citizen and resident of the State of New Jersey. He is a
  natural person and is otherwise sui juris. Plaintiff Sayed purchased an unregistered security from
  Voyager in the form of an EPA and funded the account with a sufficient amount of crypto assets
  to earn interest on his holdings. Plaintiff Sayed did so after being exposed to some or all of Cuban’s
  and Ehrlich’s misrepresentations and omissions regarding the Deceptive Voyager Platform as
  detailed in this complaint, and executed trades on the Deceptive Voyager Platform in reliance on
  those misrepresentations and omissions. As a result, Plaintiff Sayed has sustained damages for
  which Cuban and Ehrlich are liable.
         38.     Plaintiff Christopher Ehrentraut is a citizen and resident of the State of Tennessee.
  He is a natural person over the age of 21 and is otherwise sui juris. Plaintiff Ehrentraut purchased
  an unregistered security from Voyager in the form of an EPA and funded the account with a
  sufficient amount of crypto assets to earn interest on his holdings. Plaintiff Ehrentraut did so after
  being exposed to some or all of Cuban’s and Ehrlich’s misrepresentations and omissions regarding
  the Deceptive Voyager Platform as detailed in this complaint, and executed trades on the Deceptive
  Voyager Platform in reliance on those misrepresentations and omissions. As a result, Plaintiff
  Ehrentraut has sustained damages for which Cuban and Ehrlich are liable.
         39.     Plaintiff Todd Manganiello is a citizen and resident of the State of Louisiana. He is
  a natural person over the age of 21 and is otherwise sui juris. Plaintiff Manganiello purchased an
  unregistered security from Voyager in the form of an EPA and funded the account with a sufficient
  amount of crypto assets to earn interest on his holdings. Plaintiff Manganiello did so after being
  exposed to some or all of Cuban’s and Ehrlich’s misrepresentations and omissions regarding the
  Deceptive Voyager Platform as detailed in this complaint, and executed trades on the Deceptive
  Voyager Platform in reliance on those misrepresentations and omissions. As a result, Plaintiff
  Manganiello has sustained damages for which Cuban and Ehrlich are liable.
         40.     Plaintiff Dan Newsom is a citizen and resident of the State of Alabama. He is a
  natural person over the age of 21 and is otherwise sui juris. Plaintiff Newsom purchased an
  unregistered security from Voyager in the form of an EPA and funded the account with a sufficient
  amount of crypto assets to earn interest on his holdings. Plaintiff Newsom did so after being
  exposed to some or all of Cuban’s and Ehrlich’s misrepresentations and omissions regarding the



                                                   15
Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 16 of 92




  Deceptive Voyager Platform as detailed in this complaint, and executed trades on the Deceptive
  Voyager Platform in reliance on those misrepresentations and omissions. As a result, Plaintiff
  Newsom has sustained damages for which Cuban and Ehrlich are liable.
         41.     Plaintiff William Ayer is a citizen and resident of the State of Virginia. He is a
  natural person over the age of 21 and is otherwise sui juris. Plaintiff Ayer purchased an
  unregistered security from Voyager in the form of an EPA and funded the account with a sufficient
  amount of crypto assets to earn interest on his holdings. Plaintiff Ayer did so after being exposed
  to some or all of Cuban’s and Ehrlich’s misrepresentations and omissions regarding the Deceptive
  Voyager Platform as detailed in this complaint, and executed trades on the Deceptive Voyager
  Platform in reliance on those misrepresentations and omissions. As a result, Plaintiff Ayer has
  sustained damages for which Cuban and Ehrlich are liable.
         42.     Plaintiff Anthony Dorn is a citizen and resident of the State of California. He is a
  natural person over the age of 21 and is otherwise sui juris. Plaintiff Dorn purchased an
  unregistered security from Voyager in the form of an EPA and funded the account with a sufficient
  amount of crypto assets to earn interest on his holdings. Plaintiff Dorn did so after being exposed
  to some or all of Cuban’s and Ehrlich’s misrepresentations and omissions regarding the Deceptive
  Voyager Platform as detailed in this complaint, and executed trades on the Deceptive Voyager
  Platform in reliance on those misrepresentations and omissions. As a result, Plaintiff Dorn has
  sustained damages for which Cuban and Ehrlich are liable.
         43.     Plaintiff Dameco Gates is a citizen and resident of the State of California residing.
  He is a natural person over the age of 21 and is otherwise sui juris. Plaintiff Gates purchased an
  unregistered security from Voyager in the form of an EPA and funded the account with a sufficient
  amount of crypto assets to earn interest on his holdings. Plaintiff Gates did so after being exposed
  to some or all of Cuban’s and Ehrlich’s misrepresentations and omissions regarding the Deceptive
  Voyager Platform as detailed in this complaint, and executed trades on the Deceptive Voyager
  Platform in reliance on those misrepresentations and omissions. As a result, Plaintiff Gates has
  sustained damages for which Cuban and Ehrlich are liable.
         44.     Plaintiff Marshall Peters is a citizen and resident of the State of Pennsylvania. He
  is a natural person over the age of 21 and is otherwise sui juris. Plaintiff Peters purchased an
  unregistered security from Voyager in the form of an EPA and funded the account with a sufficient
  amount of crypto assets to earn interest on his holdings. Plaintiff Peters did so after being exposed



                                                   16
Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 17 of 92




  to some or all of Cuban’s and Ehrlich’s misrepresentations and omissions regarding the Deceptive
  Voyager Platform as detailed in this complaint, and executed trades on the Deceptive Voyager
  Platform in reliance on those misrepresentations and omissions. As a result, Plaintiff Peters has
  sustained damages for which Cuban and Ehrlich are liable.
         45.     Plaintiff Edwin Garrison is a citizen and resident of the State of Oklahoma. He is a
  natural person over the age of 21 and is otherwise sui juris. Plaintiff Garrison purchased an
  unregistered security from Voyager in the form of an EPA and funded the account with a sufficient
  amount of crypto assets to earn interest on his holdings. Plaintiff Garrison did so after being
  exposed to some or all of Cuban’s and Ehrlich’s misrepresentations and omissions regarding the
  Deceptive Voyager Platform as detailed in this complaint, and executed trades on the Deceptive
  Voyager Platform in reliance on those misrepresentations and omissions. As a result, Plaintiff
  Garrison has sustained damages for which Cuban and Ehrlich are liable.
         46.     Defendant Stephen Ehrlich is a citizen of the State of Connecticut. He is the Chief
  Executive Officer at Voyager Digital LTD.
         47.     Defendant Mark Cuban is a citizen of the State of Texas. Cuban is the well-known
  businessman, investor, television and media personality, and the team owner of the American
  professional basketball team, the Dallas Mavericks.
         48.     Defendant Dallas Basketball Limited, d/b/a Dallas Mavericks is a Texas limited
  partnership doing business in the United States.
                                   JURISDICTION AND VENUE
         49.     This Court has subject matter jurisdiction over claims under the Securities Act
  pursuant to 15 U.S.C. § 78aa and §1331, and supplemental jurisdiction over the entire action under
  28 U.S.C. § 1367. Further, this Court has subject matter jurisdiction over this action pursuant to
  28 U.S.C. § 1332(d)(2)(A) because this is a class action for a sum exceeding $5,000,000.00,
  exclusive of interest and costs, and in which at least one class member is a citizen of a state
  different than the Defendants.
         50.     This Court has personal jurisdiction against Defendants because they conduct
  business in Florida, and/or has otherwise intentionally availed themselves of the Florida consumer
  market through the promotion, marketing, and sale of Voyager’s EPAs in Florida, which
  constitutes committing a tortious act within the state of Florida. Defendants have also marketed
  and participated and/or assisted in the sale of Voyager’s unregistered securities to consumers in



                                                  17
Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 18 of 92




  Florida. This purposeful availment renders the exercise of jurisdiction by this Court over
  Defendants permissible under traditional notions of fair play and substantial justice.
          51.    Venue is proper in this District under 28 U.S.C. § 1391 because thousands of Class
  Members either reside in this District; Defendants engaged in business in this District; a substantial
  part of the events or omissions giving rise to the claims at issue occurred in this District; and
  because Defendants entered into transactions and/or received substantial profits from Class
  Members who reside in this District. Venue is further proper pursuant to 15 U.S.C. § 78aa.
          52.    All conditions precedent to the institution and maintenance of this action have been
  performed, excused, waived, or have otherwise occurred.
                                    FACTUAL ALLEGATIONS
       A. Background on Voyager and VDL
          53.    Voyager has quickly become one of the most utilized avenues for nascent investors
  to purchase cryptocurrency, and has already reaped hundreds of millions of dollars in revenue
  since 2019, which is increasing exponentially every week.
          54.    Voyager was first listed on the Toronto Venture Exchange (TSX.V) under the
  symbol VYGR.V in February of 2019. 25 In September 2019, Voyager Digital Ltd was listed on
  the Canadian Stock Exchange (CSE) under the symbol VYGR.CN. In 2021, Voyager announced
  its approval to trade on the Toronto Stock Exchange (TSX) under the new ticker symbol VOYG
  and de-list from the CSE. Voyager stock is also available Over-the-Counter (OTC) through many
  US brokerages and can be purchased in the state of Florida and throughout the United States via
  the symbol VYGVF. Voyager has quickly become one of the most utilized avenues for nascent
  investors to purchase cryptocurrency, and thus has already reaped hundreds of millions of dollars
  in revenue since 2019, which is increasing exponentially every week.
       B. Voyager’s offer and sale of EPAs, which are unregistered securities.
          55.    On October 23, 2019, Voyager began offering EPAs for sale to consumers
  throughout the United States, including the state of Florida. Voyager initially launched the EPAs
  for customers holding Bitcoin, but thereafter extended them periodically to include dozens of other
  crypto assets, including USDC and Ethereum through end of fiscal year 2021.



  25
     See https://www.investvoyager.com/blog/why-voyager-is-a-public-company/ (accessed August 10,
  2022)


                                                   18
Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 19 of 92




          56.       According to Voyager’s Annual Information Form filed with Canadian regulators,
  “Rewards earned on crypto assets are variable, and reward rates are determined by Voyager at its
  sole discretion.” 26
          57.       For fiscal year 2021, Voyager generated approximately $21 million in fees on
  crypto assets loaned. 27 Voyager earned during Q2 of fiscal year 2022 “approximately $57 million
  in lending and staking activities.” 28 To generate this revenue, Voyager independently negotiates
  with institutional borrowers the terms of each unsecured institutional loan agreement, and selects
  which and how much of its crypto assets are available for such lending activity. In the event of
  bankruptcy or insolvency of an institutional borrower under a loan, Voyager bears the credit risk
  of lending crypto assets under the loan. 29
          58.       Voyager has maintained that it does not support, custody, intermediate, or facilitate
  any transaction or activities with respect to any product that constitutes a “security,” and, therefore,
  believes that it is not required to be registered in any capacity under applicable United States
  securities laws. 30 Voyager’s conclusion is apparently drawn from its position that although the
  SEC had previously communicated to industry participants that it will apply existing securities
  laws, including the Howey Test, a four-part test developed by the U.S. Supreme Court to determine
  whether a particular “investment contract” is a security, to digital assets, the Howey Test is almost
  75 years old, was not designed with digital assets in mind, and its application is fact-based. 31 At
  the same time, Voyager acknowledges that “it is possible that the SEC could come to a different
  conclusion” than Voyager, which “could result in [Voyager] being required to become registered,
  removing certain digital assets from its platform, or being required to cease certain of its
  operations.” 32
          59.       As Plaintiffs’ expert, Rich Sanders, explains in his report, Voyager’s Earn program
  is functionally nearly entirely identical to similar programs offered by firms such as Celsius and




  26
     see Annual Information Form dated October 27, 2021, attached as Exhibit B.
  27
     see Ex. B.
  28
     see Ex. A.
  29
     see Ex. B.
  30
     see Ex. B.
  31
     see Ex. B.
  32
     see Ex. B.


                                                     19
Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 20 of 92




  BlockFi. 33 The differences between these companies and their respective programs are extremely
  minimal; as some examples, differences come down to phrasing (use of words like “interest”
  versus “rewards”), how frequently rewards are paid out (daily, weekly, or monthly, most
  commonly) or specific cryptocurrencies that are offered as part of the program. 34
         60.     Just like BlockFi settled with regulators, as explained above, Celsius, another
  Voyager competitor with a nearly identical “earn” program, quickly followed suit by revising their
  “earn” program by introducing “Celsius’ Custody Solution,” which only allows accredited U.S.
  investors to earn rewards on their crypto asset holdings. 35 To-date, Sanders explains, Voyager has
  not taken any similar actions, noting that “it is possible that Voyager instead opts to (continue to)
  benefit from the influx of users from BlockFi and Celsius, opting to take this action at a future date
  – whether voluntarily or by being compelled to do so.” 36
         61.     In further describing the risks that stem from Voyager’s offering and sale of the
  EPAs as unregistered securities, Sanders goes on to explain: 37
                 There have been extensive releases, statements, and actions from
         government agencies related to cryptocurrency in recent history. Secretary Yellen’s
         remarks on digital assets leave no room for mystery. The first priority includes
         consumer protection; this is not accidental. The fifth priority states equitable access
         to safe and affordable financial services. To state the obvious, it is the opposite of
         safe to invest a significant portion of your net worth (let alone your life’s savings)
         into activity such as DeFi staking. To invest a significant portion of someone else’s
         net worth into activity such as DeFi staking, while painting a picture of far different
         asset use, adds a layer of dishonesty on top of risk.
                 Customers of firms like BlockFi and Voyager are led to believe that their
         assets are being utilized largely by reputable institutions, not that their assets are
         being day-traded on platforms like Binance or utilized for extremely high-risk DeFi
         activity. In simpler terms, the risk and reward of loaning Ethereum to a reputable
         and audited western institution, as opposed to rehypothecation of that Ethereum
         into DeFi yield farming, are on entirely different ends of the spectrum. The risk
         associated with this reality transcends not just risk for the misled customers of firms

  33
     Attached as Exhibit C is a supplemental report from Mr. Sanders that was proffered in the Cassidy
  Action, which goes into further detail regarding how the EPAs function, how they generate revenue, and
  whether Voyager properly represents their risk (“Sanders Supp.”), ¶ 4
  34
     Id.
  35
      Sanders Supp. ¶ 6 (citing https://blog.celsius.network/important-celsius-update-to-our-us-clients-
  6df471420cc7) (accessed August 10, 2022).
  36
     Sanders Supp. ¶ 6
  37
     Sanders Supp. ¶¶ 9–10.


                                                   20
Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 21 of 92




          like Voyager and BlockFi that stand to lose significant portions of their net worth,
          but would be something I would categorize as an item of national security interest:
          an increased likelihood of a hack means an increased likelihood of siphoning of
          hundreds of millions or even billions of dollars’ worth of value out of the western
          economy and into the hands of, for example, North Korea. 38 While true a western
          institution using loaned Bitcoin for arbitrage trading could be hacked, this is
          generally a less likely threat than the risk of a DeFi hack. In short, companies like
          Voyager and BlockFi misrepresent the risk of utilizing their interest/earn programs
          since they misrepresent what customer assets are used for, disregarding and
          concealing risk, for the sake of making a risky quick buck.
          62.     Under federal securities laws as construed by the United States Supreme Court in
  its decision SEC v. W.J. Howey Co., 328 U.S. 293 (1946) and by the SEC, an investment contract
  is a form of security under United States securities laws when (1) the purchaser makes an
  investment of money or exchanges another item of value (2) in a common enterprise (3) with the
  reasonable expectation of profits to be derived from the efforts of others. Voyager’s EPAs offered
  and sold to Plaintiffs and similarly situated consumers were a “security” as defined by the United
  States securities laws and as interpreted by the Supreme Court, the federal courts, and the SEC.
          63.     The Securities Act and the Exchange Act were designed to “eliminate serious
  abuses in a largely unregulated securities market.” United Housing Found., Inc. v. Forman, 421
  U.S. 837, 849 (1975). They are focused, among other things, “on the capital market of the
  enterprise system: the sale of securities to raise capital for profit-making purposes . . . and the need
  for regulation to prevent fraud and to protect the interest of investors. Id. Under Section 2(a)(1) of
  the Securities Act and Section 3(a)(10) of the Exchange Act, a security includes any “note.” See
  15 U.S.C. §§ 77b & 78c. A note is presumed to be a security unless it falls into certain judicially-
  created categories of financial instruments that are not securities, or if the note in question bears a
  “family resemblance” to notes in those categories based on a four-part test. See Reves v. Ernst &
  Young, 494 U.S. 56, 64–66 (1990), and its progeny. Applying the Reves four-part analysis, the
  EPAs were notes and thus securities. First, Voyager offered and sold EPAs to obtain crypto assets
  for the general use of its business, namely to run its lending and investment activities to pay interest
  to EPA investors, and purchasers bought EPAs to receive interest on the loaned crypto assets.
  Second, EPAs were offered and sold to a broad segment of the general public. Third, Voyager


  38
            https://techcrunch.com/2022/04/15/us-officials-link-north-korean-lazarus-hackers-to-625m-axie-
  infinity-crypto-theft/ (accessed August 10, 2022)


                                                    21
Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 22 of 92




  promoted EPAs as an investment, specifically as a way to earn a consistent return on crypto assets.
  Fourth, no alternative regulatory scheme or other risk reducing factors exist with respect to EPAs.
          64.     Under Section 2(a)(1) of the Securities Act and Section 3(a)(10) of the Exchange
  Act, a security includes “an investment contract.” See 15 U.S.C. §§ 77b, 78c. Based on the facts
  and circumstances set forth herein, the EPAs were securities because they were notes under Reves
  v. Ernst & Young, 494 U.S. 56, 64–66 (1990) and its progeny, and also because Voyager offered
  and sold the EPAs as investment contracts, under SEC v. W.J. Howey Co., 328 U.S. 293, 301
  (1946) and its progeny, including the cases discussed by the SEC in its Report of Investigation
  Pursuant To Section 21(a) Of The Securities Exchange Act of 1934: The DAO. 39 Voyager
  promised EPA investors a variable interest rate, determined by Voyager on a periodic basis, in
  exchange for crypto assets loaned by the investors, who could demand that Voyager return their
  loaned assets at any time. Voyager thus borrowed the crypto assets in exchange for a promise to
  repay with interest. Investors in the EPAs had a reasonable expectation of obtaining a future profit
  from Voyager’s efforts in managing the EPAs based on Voyager’s statements about how it would
  generate the yield to pay EPA investors interest. Investors also had a reasonable expectation that
  Voyager would use the invested crypto assets in Voyager’s lending and principal investing
  activity, and that investors would share profits in the form of interest payments resulting from
  Voyager’s efforts. Further, as Rich Sanders demonstrates in his report, once an investor purchases
  an EPA from Voyager and invests assets into it, Voyager customer assets are consolidated into
  accounts operated by a common enterprise. 40 “Blockchains don’t lie, and the tracing of Voyager
  customer deposits to common enterprise accounts is very clear.” 41 Voyager offered and sold the
  EPAs to the general public to obtain crypto assets for the general use of its business, namely to run
  its lending and investment activities to pay interest to EPA investors, and promoted the EPAs as
  an investment. Voyager offered and sold securities without a registration statement filed or in
  effect with the Commission and without qualifying for an exemption from registration; as a result,
  Voyager violated Sections 5(a) and 5(c) of the Securities Act of 1933 (“Securities Act”).
          65.     As explained more fully in this Complaint, Ehrlich’s and Cuban’s
  misrepresentations and omissions made and broadcast around the country through the internet


  39
     https://www.sec.gov/litigation/investreport/34-81207.pdf (accessed August 10, 2022)
  40
     Sanders Supp. ¶ 11.
  41
     Id.


                                                    22
Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 23 of 92




  render them liable to Plaintiffs and class members for soliciting their purchases of the unregistered
  EPAs. Wildes v. Bitconnect Int’l PLC, No. 20-11675 (11th Cir. Feb. 18, 2022) (holding that
  promoters of cryptocurrency through online videos could be liable for soliciting the purchase of
  unregistered securities through mass communication, and no “personal solicitation” was necessary
  for solicitation to be actionable).
       C. The Deceptive Voyager Platform and Related Ponzi Scheme
          66.      The Deceptive Voyager Platform offers investors, developers and platform
  providers a fully functional suite of APIs and mobile apps to allow anyone who is legally able to
  do so the ability to trade, invest, earn and secure digital assets across multiple types of digital
  assets. 42 According to its creators, “The Voyager Platform provides its customers with competitive
  price execution through its smart order router and as well as a custody solution on a wide choice
  of popular crypto-assets. Voyager was founded by established Wall Street and Silicon Valley
  entrepreneurs who teamed to bring a better, more transparent, and cost-efficient alternative for
  trading crypto-assets to the marketplace.” 43
          67.      VDL, one of Voyager’s subsidiaries, acts as a “crypto broker,” being a digital agent
  broker that facilitates users buying and selling of cryptocurrencies delivering deep pools of
  liquidity. 44 It also offers a single access point to research, manage, trade, and secure
  cryptocurrencies for novice and sophisticated investors. 45 Some of the services offered by VDL
  include:
                (a) users can open an account in three minutes or less. VDL utilizes third party service
                   providers for know-your-client and anti-money-laundering checks to ensure fast
                   and secure account openings;
                (b) users are able to trade between fiat and cryptocurrency on a wide variety of core
                   and alternative cryptocurrencies;
                (c) execution of trade orders across a spectrum of exchanges to give Voyager the
                   deepest pool of liquidity;



  42
     Voyager Digital LTD’ Management’s Discussion and Analysis for the Three and Six
  Months Ended December 31, 2020 (Exhibit D).
  43
     See “Voyager Digital and Market Rebellion to Form Online Broker Platform for Equities, Options, and
  Futures Trading,” dated May 5, 2021, attached as Exhibit E.
  44
     See Ex. D.
  45
     Id.


                                                    23
Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 24 of 92




               (d) minimizing transaction costs by aggregating orders and routing the order flow
                  through the optimal mix of exchanges, by utilizing VDL’s patented smart router
                  technology;
               (e) providing users with data in order for them to manage and track their crypto
                  investments, including delivering news, social feeds and real-time alerts to keep
                  users connected to the market, and providing portfolio tools to track performance,
                  balances and transactions; and
               (f) storing crypto assets in a secure wallet and in a “cold” facility, with 24/7 security.
                  (fiat currency is stored at custodial banks). 46
         68.      Further, during the months of January, February, and March 2021, 65,000, 70,000,
  and 95,000 new funded accounts were onboarded onto the Voyager Platform with net deposits of
  $170M, $400M, and $650M, respectively: 47




  As of March 31, 2021, Voyager’s Assets Under Management exceeded $2.4 billion, with total
  funded accounts exceeding 270,000 and over 1 million total verified users on the Platform. 48
  Moreover, during the month of April 2021 alone, new users were onboarded “at a record rate with
  over 130,000 new funded accounts added to the platform.” 49
         69.      Included prominently throughout VDL’s uniform marketing representations to its
  customers is that the Voyager Platform offers trades that are “100% Commission-Free.”
         70.      These representations enabled VDL to obtain an edge over its competitors,
  including but not limited to Coinbase, Gemini, Kraken, and Binance, who openly display the
  applicable fees and commissions they charge on each trade.




  46
     Id.
  47
     See “Voyager Digital Provides Business Update and March 2021 Metrics,” dated April 6, 2021, attached
  as Exhibit F.
  48
     Id.
  49
     See “Voyager Digital Provides Business Update for April,” dated May 3, 2021, attached as Exhibit G.


                                                     24
Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 25 of 92




         71.     These “100% Commission-Free” representations, however, are false and are
  reasonably likely to mislead objective consumers acting reasonably under the circumstances.
  While VDL does not openly display the commissions it charges on each cryptocurrency trade, it
  utilizes various methods to secrete the exorbitant commissions it retains from every trade.
         72.     For example, the “spread” (i.e., the difference between the “Bid Price” and “Ask
  Price” on a given cryptocurrency) is kept intentionally wide on all cryptocurrencies listed
  throughout the Voyager Platform. Voyager explains in its most recent Management’s Discussion
  and Analysis that the spread is a main source of revenue: 50
         Fee revenue for the three and nine months ended March 31, 2021 was $53.7 million
         and $57.4, an increase of $53.5 and $57.1 compared to the same periods in 2020.
         The increase in the three months ended March 31, 2021 compared to the three
         months ended March 31, 2020 was primarily due to an increase of $5.0 billion in
         trade volumes, and an increase in average spread of 70.1 bps. The increase in the
         nine months ended March 31, 2021 compared to the nine months ended March 31,
         2020 was primarily due to an increase of $5.5 billion in trade volumes, and an
         increase in average spread of 60.6 bps.
         73.     Although the Voyager Platform will display a “Fair Market Price” for each
  cryptocurrency, which falls somewhere in the middle of the spread, the Voyager Platform’s
  systems will automatically execute market orders at the highest end of the spread, from which they
  pocket secret commissions. Moreover, once a user submits a market buy order, the “Estimated
  Price” for the trade displayed on the Voyager Platform automatically defaults to an amount higher
  than the quoted “Ask Price” at the top end of the spread, so that an order can execute at an amount
  that is “less” than the “Estimated Price,” but still at the very top end of the spread. Similarly, for
  market sell orders, the trade will automatically default to an amount lower than the quoted “Bid
  Price” at the bottom end of the spread so that the order can execute at an amount that is “more”
  than the “Estimated Price,” but still at the bottom end of the spread.
         74.     To effectuate these unfair and deceptive business practices, VDL claims to use
  proprietary systems, which they refer to as the “Smart Order Router,” the “Voyager Pricing
  Engine,” and the “Proprietary Fills Algorithm.” 51



  50
     See Voyager Digital Ltd. Management’s Discussion and Analysis for the Three and Nine Months Ended
  March 31, 2021, dated May 25, 2021, attached as Exhibit H.
  51
       See “Passion for Product: Voyager Trading System,” published Jan 23, 2020 at
  https://www.investvoyager.com/blog/passion-for-product-trading/ (accessed August 10, 2022)


                                                   25
Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 26 of 92




          75.     In describing the Smart Order Router, VDL maintains that the Voyager Platform
  “does not let clients post orders directly on the exchanges to which it connects or with the market
  makers that provide liquidity, but instead its Smart Order Router accepts customer orders and fills
  them in the market for the customer using its proprietary order routing algorithm.” 52 The Voyager
  Pricing Engine “calculates the fair market price while constantly analyzing the order books,
  executions, depth of liquidity, commissions and other proprietary factors across our liquidity
  sources and streams this price to its users.” 53
          76.     To obscure this overarching scheme, VDL utilizes vague and opaque
  representations that VDL will only “share” in “price improvement” where they can fill a user’s
  order at a price better than that which was quoted to the user (which is not in the bid/ask spread or
  fair market price, but rather in the jacked up estimated price that is only shown after the customer
  submits the market order). 54 “By example, if the user is quoted $10,040 and the router is able to
  fill at $10,030, Voyager may price improve the user’s order to $10,035 (note: share of price
  improvement is variable and is determined by Voyager’s proprietary fills algorithm).” 55
          77.     In reality, and unbeknownst to customers, the “Smart Order Router,” “Voyager
  Pricing Engine,” and “Proprietary Fills Algorithm” are designed to be intentionally obscure and to
  provide VDL with hidden commissions on every trade that in most cases exceed the disclosed fees
  and commissions charged by its competitors. VDL unfairly gains an edge on its competition and
  overcharges customers by collecting these secret commissions to the detriment of its unknowing
  customers.
          78.     In support of these allegations, Plaintiffs attach from the Cassidy Action the expert
  reports of (a) Richard A. Sanders, the Co-Founder and Lead Investigator of CipherBlade, a
  blockchain forensics and cybercrime investigative firm which consults on some of the most
  renowned blockchain projects, as well as numerous law enforcement and regulatory investigations,
  and provides advisory services to cryptocurrency exchanges and other organizations; 56 and (b) Dr.
  Stephen Peter Castell, a Chartered IT Professional, independent consultant in computer and
  telecommunications systems and software development, and the Chairman of the United Kingdom


  52
     Id.
  53
     Id.
  54
     Id.
  55
     Id.
  56
     See Exhibit I (“Sanders Report”)


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Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 27 of 92




  company CASTELL Computer and Systems Telecommunications Limited, a professional firm of
  Management and Financial Consultants in Information Technology of over 40 years’ standing. 57
          79.       Richard Sanders utilized a blockchain visualization tool called Chainalysis Reactor
  in forming the opinions set forth in his report. Mr. Sanders explains that Chainalysis Reactor
  provides a visualization of the same data that would be viewable on a block explorer, but unlike
  block explorer, Chainalysis Reactor has what is known as “attribution.” Attribution is simply the
  labeling of wallet addresses. 58 “Chainalysis Reactor (as well as similar tools) will have a baseline
  amount of what is known as attribution: the labeling of wallet addresses. Addresses will be
  unknown/pseudonymous until Chainalysis updates/labels the addresses in their system. A
  combination of automated analysis and manual investigation is utilized to continually add
  attribution. 59
          80.       Mr. Sanders found through his analysis that Voyager had an alarmingly low number
  of addresses attributed, far below the expected industry standard. “While it is true that no services
  (not even the most voluminous exchanges, such as Coinbase or Binance) will ever have all
  addresses attributed, services that have a lower amount of addresses attributed oftentimes lack such
  attribution as a result of the entity not utilizing a compliance tool such as Chainalysis KYT (the
  compliance equivalent of Chainalysis Reactor), and/or not submitting address data to such
  providers. VDL currently has 1 Bitcoin address attributed in Chainalysis Reactor, a figure far lower
  than industry standard.
          81.       For example, Voyager competitor Celsius has 277,287 attributed addresses for
  Bitcoin in Chainalysis Reactor. A service with such aggressive marketing as VDL, according to
  Sanders, should have more address attribution. VDL’s lack of attribution may at least partially
  have to do with how VDL processes customer deposits and withdrawals, which is distinctly
  different (perhaps deliberately) from their competitors and obfuscates potential attribution
  efforts. 60 Further, attribution for VDL wallet addresses for other blockchains was scarce and in
  some cases non-existent. While attribution for some more less-utilized assets (say, LTC or the
  ERC-20 tokens) may often have gaps, for attribution on widely-utilized assets (such as Ethereum)



  57
     See Exhibit J (“Castell Report”)
  58
     Sanders report at ¶ 18
  59
     Id. at ¶ 20
  60
     Id. at ¶ 22


                                                    27
Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 28 of 92




  to be lacking immediately stands out. Sanders therefore performed manual attribution for VDL
  addresses.” 61
          82.      Mr. Sanders found through his analysis that VDL lacks necessary transparency on
  their platform and programs, and that opacity materially affects a customer’s ability to make an
  informed decision with their money. “Voyager is not transparent. As described in the preceding
  paragraph regarding the Voyager Interest Program, it is impossible for consumers to make an
  informed decision regarding whether to deposit funds to Voyager or not. Further, even if an
  individual opts out of the Voyager Interest Program, nothing evidences customer funds are not
  rehypothecated, rendering Voyager customers susceptible to the risk of this rehypothecation
  whether or not they have the risk appetite and/or desire to sign up for such activity.” 62
          83.      According to Mr. Sanders, VDL fails to communicate to its users exactly what extra
  fees apply to their transactions, how exactly transactions are being executed, and employs
  misleading advertising to lure in customers:
          Voyager is deliberately misleading, and often refuses to substantiate information
          that is essential for a consumer to make an informed decision. As one prominent
          example, Voyager strongly advertises “Commission-free” trading on their landing
          page, but no such fees are ever clearly outlined. In the absence of any specificity
          regarding “the marketplace,” it is impossible for a consumer — or anyone for that
          matter — to determine which “marketplaces” (exchanges?) Voyager is determining
          to provide the “best execution.” There would, indeed, presumably be a set price for
          a market order, which would be derived from an aggregate of the exchanges
          Voyager is sourcing liquidity from. In the simplest terms possible, it is entirely a
          black box as to what Voyager is doing with orders purportedly directed to their
          Smart Order Router, where (which exchanges) the Voyager Pricing Engine
          “calculates the fair market price” from, and how the Proprietary Fills Algorithm
          functions — and in the absence of such information, as well as demonstrable
          discrepancies between what Voyager says should happen and what happens, these
          systems are either improperly configured, or to varying degrees may not even exist
          or exist as described by Voyager. Phrasing such as “evaluation of multiple factors”
          is, per my experience regarding all companies that were suspected of, and
          subsequently confirmed to be, misleading consumers, extremely concerning. The
          utilization of seemingly-technical jargon, and/or otherwise unspecified yet
          critical information, often result in tragedy for consumers. 63 In the absence of any
          information whatsoever regarding how Voyager is processing customer orders, it
          is functionally impossible to verify that Voyager is even performing the steps

  61
     Id. at ¶ 23
  62
     Id. at ¶ 27
  63
               https://www.makeuseof.com/the-rise-and-fall-of-bitconnect-an-internet-famous-ponzi-scheme/
  (accessed August 10, 2022)


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Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 29 of 92




          described on their own FAQ. Voyager, in essence, is expecting the same degree of
          trust from users that Bitconnect expected from their users regarding a ‘trading
          bot’ that turned out to never exist. Voyager is undoubtedly profiting off of
          customers utilizing the trade functionality of the Voyager platform, and is
          irrefutably not providing best execution. Voyager cannot both claim to provide best
          execution and be commission-free when it is easily evidenced that numerous other
          exchanges provide better rates. 64
          84.     Mr. Sanders further explains that VDL’s advertising claim that their platform
  provides the best execution of trades for users is plainly and demonstrably false:
          The exchange rates provided by Voyager are consistently worse than the rates
          provided by cryptocurrency exchanges -- regardless of whether the exchange is
          centralized or decentralized, US-based or not US-based, etc. For Voyager to
          suggest they are providing any form of ‘best execution’ across the marketplace is
          demonstrably false. What makes Voyager’s representations even more egregious is
          that, in the course of my analysis, I had performed extensive cryptocurrency
          deposits and withdrawals in order to discover cryptocurrency wallet addresses that
          Voyager utilizes for customer funds. Customer assets are sent to/from either
          Binance or HTC Trading wallets. Comparing exchange rates on Voyager to those
          on Binance resulted in Binance having better exchange rates on every occasion.
          Said differently, the one exchange that it is possible to assess Voyager would be
          including across their marketplace comparison (and thus should reflect the same
          price in Voyager app) provided a better deal than Voyager. 65
          85.     Mr. Sanders also obtained comparison data from VDL’s competitors, such as
  Celsius, which further demonstrates the Deceptive Voyager Platform’s vast deviation in number
  of attributed addresses from the expected industry standard. Mr. Sanders explained that “[u]pon a
  search of Celsius, a core Voyager competitor, their addresses are well-attributed; note the
  requirement to scroll down to see the full depth of cryptocurrencies that Celsius wallets are
  attributed in. Upon a search for Voyager, only four cryptocurrencies are attributed, and of
  those, the attribution is partial.” 66
          86.     This lack of attribution indicates, in Mr. Sanders’ view, that VDL demonstrates a
  possibility of noncompliance and lack of responsibly managed services on their platform
          While a service not being attributed in Chainalysis does not confirm the service is
          suspicious, it is generally typical for compliant and responsibly-managed services
          to have attribution in a tool like Chainalysis Reactor for several reasons: Companies
          will sometimes provide their wallet addresses to companies like Chainalysis in
          order to be helpful to law enforcement and/or decrease the overhead associated with

  64
     Id. at ¶ 29 (emphasis in original and added)
  65
     Id. at ¶ 30
  66
     Id. at ¶ 34


                                                    29
Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 30 of 92




         false positives and inquiries that would otherwise stem from a lack of attributed
         wallet addresses. 67
         87.     This lack of compliance is further illustrated in Voyager’s heavy utilization of non-
  U.S. based fund-receiving addresses which do not reflect the targeted customer demographic:
         While proportionality and focus at this time preclude me from providing a deeper
         review into Voyager’s AML practices, observations regarding Voyager addresses
         (and the nature of the entities they send and receive cryptocurrencies from) while
         conducting my attribution work did prompt concerns. As just one example,
         Voyager’s known Bitcoin address sends funds to exchanges that are not US-based
         or even preclude US residents from signing up (KuCoin, Binance, Byibit, and FTX
         would all be strong examples.) In essence, where Voyager customers withdraw
         funds to does not reflect what I’d expect a US-based company soliciting US-based
         users 68 to send funds to. In my experience, when I see sending exposure that does
         not reflect the targeted demographic, the company attributed to the wallet(s) has an
         (often intentional) porous approach to compliance; said differently, I find it very
         unlikely that the quantity of Source of Wealth inquiries Voyager sent to customers
         due to these observations (assets going to US-restricted exchanges) would match
         the statistics shown above. 69
         88.     Not only does VDL fail to deliver on their advertising promise of “Better Pricing
  On Trades,” they charge their users the highest premium on trades across all competitors.
  According to Mr. Sanders, “On all but one occasion (which was for a less liquid cryptocurrency,
  ZRX, in a small amount, on FTX), Voyager’s prices were worse than whichever exchange they
  were compared to. Voyager does not offer better pricing on trades. In fact, the rates Voyager offers
  would result in a plainly worse deal, often to the tune of nearly or more than 1% higher than
  competitors, even on highly liquid pairs such as BTC/USD.” 70 “Consequently, VDL’s
  representation of offering “Better Pricing on Trades” is, under the most generous of terms,
  deliberately misleading (it is obvious that would lead most people to conclude “across
  exchanges”), and I’d opine deliberately misleading in a way that is plainly to enrich themselves at
  the expense of that very misconception Voyager instills.” 71
         89.     Upon further testing, Mr. Sanders also found it probable that VDL is not basing
  their market quotes off exchanges:



  67
     Id. at ¶ 35 (emphasis added)
  68
     https://www.investvoyager.com/blog/where-is-voyager-available/ (accessed August 10, 2022)
  69
     Id. at ¶ 43
  70
     Id. at ¶ 47
  71
     Id. at ¶ 48


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Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 31 of 92




          Baffled as to how Voyager may be generating the quotes for market buy/sell orders,
          I decided to run one more test on Voyager regarding USD/USDC. USDC is a
          cryptocurrency known as a stablecoin, which should be close to the value of the
          USD; however, these assets are never entirely 100%-pegged. 72 Consequently, if
          one goes onto a cryptocurrency exchange (with legitimate liquidity -- so Coinbase
          or Kraken would be good choices, whereas an exchange known for fake volume,
          which is also likely to have fake order books, such as HitBTC 73 might not be), and
          seeks to trade between a stablecoin and fiat, the exchange will not be an exact 1:1
          match. Note that when entering tens or hundreds of millions of dollars into a USDC
          buy order on Kraken, the peg noticeably is lost, as it should be. Note that on
          Voyager it does not. See: Exhibit E – Infinite Stability.mp4 [accessible at
          https://youtu.be/zF5nHhLhpaM]. 74 In the absence of any indication Voyager is
          sourcing funds from exchanges, as well as the alarming revelation that Voyager
          purports to effectively have infinite USDC stores at peg, I am thus left to conclude
          that it is possible, if not probable, Voyager is not basing their market quotes off
          exchanges. The explanation may simply be that Voyager sources liquidity from
          Binance at a markup.” 75 “Notably, with Binance’s known AML issues, even if
          Voyager were transparently providing Binance’s rates on cryptocurrency trades
          (which they are not) to US users, Voyager is effectively a workaround for Binance
          being restricted to US residents and Voyager cannot know, with confidence, what
          their ultimate source of funds is. Such activity would be, from a value
          transfer/blockchain analysis standpoint, described as a workaround to US
          regulatory requirements and cryptocurrency exchange terms of use. 76
          90.     This probability is further bolstered by the questionability of VDL’s business
  activity with Binance. Mr. Sanders states:
          I can evidence, and have evidenced, that Voyager sends funds to HTC Trading and
          Binance. What happens with those funds when sent to HTC Trading is a black box
          (until/unless records are provided), but what one can conclude is Voyager, or the
          company they own/act through, HTC Trading, has one or more Binance accounts.
          If Voyager were, in fact, being honest about providing the best rates to their users,
          it would only be sensible to include in the hypothetical set of exchanges they are
          getting these alleged best rates from: namely Binance. Said differently: why does
          Voyager send customer funds to Binance where they presumably hold
          account(s) yet a Voyager customer will consistently get a better deal on
          Binance than is shown on Voyager? As far as the blockchain is concerned, the
          one place I can definitively assess Voyager receiving liquidity from is Binance, yet
          Voyager’s rates were worse than Binance every time. 77

  72
     https://invao.org/how-stable-are-stablecoins/ (accessed August 10, 2022)
  73
              https://cointelegraph.com/news/bitwise-calls-out-to-sec-95-of-bitcoin-trade-volume-is-fake-real-
  market-is-or (accessed August 10, 2022)
  74
     Id. at ¶ 50
  75
     Id. at ¶ 51
  76
     Id. at ¶ 53
  77
     Id. at ¶ 55


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Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 32 of 92




         91.     Mr. Sanders lastly concludes, in line with what Plaintiffs allege:
         Voyager has fraudulently conducted business by making false claims, utilizing
         misleading marketing, and obscuring the truth behind what Voyager does with
         customer’s funds, and what fees users are charged. “Voyager’s aggressive
         expansion in the late 2020/2021 bull market is, in my estimation, plainly targeting
         inexperienced cryptocurrency users/investors that would not have the experience to
         know better. New cryptocurrency users rely on active industry participants
         (companies such as Voyager, and “educators/influencers”) to provide them with
         good-faith insight and not mislead them. Voyager’s representations, namely those
         about commission-free and best price trading, would undoubtedly be understood to
         mean what they say they mean whether by a cryptocurrency novice or a deeply
         experienced expert.” 78
         92.     As to the widespread use of individuals like Ehrlich and promoters like Cuban and
  the Dallas Mavericks to continue to push the Deceptive Voyager Platform and related Ponzi
  Scheme and their importance in keeping the scheme afloat, Mr. Sanders provides his report dated
  August 10, 2022, a copy of which is attached as Exhibit K (“Sanders Report 2”). In his report,
  Mr. Sanders details how Ehrlich and Cuban knowingly and intentionally misrepresented the
  Deceptive Voyager Platform and related Ponzi Scheme to the unsuspecting public:
         Voyager’s APY was called into question early, including in a 2021 podcast with
         Decrypt 79 (which, despite being recorded by someone that openly admitted to being
         a Voyager customer, aged like milk) titled “9% APY Too Good to be True” in
         which [Ehrlich] is questioned why Voyager can do this, but banks can’t: “It’s
         sustainable for us, yeah.” [Ehrlich] never evidenced how this yield was sustainable:
         because it wasn’t, and because he lied. “We’re sending coins to really secure,
         billion dollar companies” can not be an accurate risk representation with what (still
         little) we now know Voyager customer assets were utilized for. [Ehrlich] also lied
         about having “hack insurance” in this podcast, or at least Voyager has not
         evidenced any such “hack insurance” protecting against a hack of Voyager itself,
         nor would hack insurance be at the top of the list of concerns whereas solvency
         would be; a solvency audit would be a higher priority than hack insurance for an
         organization like Voyager if legitimately and competently managed. In just one
         approximately 23 minute podcast, Ehrlich lies about a variety of critical issues that,
         in and of itself, is sufficient to outline the issues of Voyager’s misrepresentations;
         suffice to say, outlining all examples of Voyager’s representations would make this
         report potentially hundreds of pages in length. The Decrypt podcast with Ehrlich,
         however provides what I assess to be an extremely accurate indicator of the
         problems with Voyager’s representations in a 23 minute segment.



  78
   Id. at ¶ 67
  79
       https://soundcloud.com/user-792539118-188863837/oct-4-is-9-apy-too-good-to-be-true    (accessed
  August 10, 2022).


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Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 33 of 92




          Ehrlich lying about the sustainability of their ‘Earn’ program is one of dozens, if
          not hundreds, of examples of Voyager deliberately lying and misleading the public,
          and fostered the culture and conditions for the “educators” and “influencers” to do
          the same.

          Understanding the issues with promoting Voyager via professional sports teams
          requires understanding the audience. The average NASCAR viewer, or generally,
          the average professional sports viewer, is likely to be a lower to middle class
          individual with below average to average technical expertise. Certainly, an
          individual that has never been engaged with cryptocurrency and is exposed to
          digital assets for the first time via something like NASCAR is not only a new
          investor, but a naive one. By definition, this is a vulnerable demographic: for
          investment in general, and especially for investment in digital assets 80.
          Representing to this demographic that investment in digital assets at all is low risk
          was and is wrong. Representing to this demographic that it is appropriate to keep
          one’s “rainy day fund”, let alone their life’s savings, in digital assets, was and is
          wrong. Representing to brand new cryptocurrency investors an array of things
          regarding Voyager, such as that the APY was “sustainable” and low risk, was
          egregiously predatory and, in my opinion, more maliciously cunning than the
          activity of “direct scammers” such as those behind Bitconnect.

          Put simply, Mark Cuban is no more qualified to provide digital asset investment
          advice than most laypeople. Experience in other investments makes not for an
          honest cryptocurrency “influencer”, and, in fact, only increases the likelihood that
          they’re being paid for their social media following. Mark Cuban may know some
          things about finance and business, but he is in no way, shape, or form deeply
          experienced with blockchain technology. While Mark Cuban has an array of
          companies under his portfolio (including generally successful startups such as
          OpenSea, Zapper, and Polygon 81), investment in a company does not mean
          expertise in the industry, and as has been the case with digital assets especially since
          the 2017 market, if you “throw enough darts”, eventually something will stick –
          especially if you’re getting undisclosed/non-public deals with more beneficial
          investment terms than offered publicly. Mark Cuban is not far removed from other
          “influencers” that focus on price discussion and have experience largely limited to
          trading the altcoin/NFT flavor of the week to try to catch a profit.

          In the simplest terms possible, “influencers” like Mark Cuban were utilized purely
          for their reach. Ironically, the area Mark Cuban would have more knowledge
          business knowledge should have made plain that Voyager’s APY was not




  80
     Investment in digital assets is widely accepted to be higher risk than “traditional” investments for a
  plethora of reasons, including but not limited to less regulatory protection and irreversible nature of
  transactions.
  81
     https://markcubancompanies.com/blockchain/ (accessed August 10, 2022).


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Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 34 of 92




         sustainable. Despite this, Mark Cuban opted to promote Voyager aggressively,
         including via the Dallas Mavericks 82.

         “In stocks and crypto, you will see companies that were sustained by cheap, easy
         money — but didn’t have valid business prospects — will disappear,” Cuban said.
         “Like [Warren] Buffett says, ‘When the tide goes out, you get to see who is
         swimming naked.” - Mark Cuban 83

         Voyager didn’t simply lack “valid business prospects” – it was doomed from the
         onset. “Educators” and “influencers” continue to push Voyager’s false narrative
         that the reasons for their collapse were somehow outside of their control, citing
         “market conditions” and other external factors. It’s also worth pointing out that
         despite Mark Cuban’s purported sharp acumen, he didn’t see risks with Voyager
         during the earlier stages of the recent crypto bear market, such as when interviewed
         in May of 2022 84. Put simply, Mark Cuban knew better both when he was
         promoting Voyager early, and all the way through the endgame of Voyager
         collapsing shortly after his May 2022 interview.

         ...




         Mark Cuban suggested that it would be safe to save only four month of expenses in
         the form of USDC and to live off of 7% “on DeFi”. The average salary of a full
         time employee in the US in 2021 was approximately $5,854 per month 85. This
         would be a savings of $23,416. To state the obvious, a 7% yield on that figure will
         not pay one’s bills. There would be no point in putting assets you’d need for
         expenses into a yield program (especially if it was subject to lock), and it would be
         insanely risky to put money one will need to pay the bills into something (that Mark
         Cuban knew was) risky. Regardless of whether Mark Cuban was alluding to

  82
             https://nypost.com/2022/07/06/dallas-mavericks-fans-fume-at-mark-cuban-over-voyager-crypto-
  bankruptcy/
  83
     Id.
  84
              https://www.cnbc.com/2022/05/12/mark-cuban-crypto-is-going-through-a-similar-lull-to-early-
  web.html
  85
     https://www.ziprecruiter.com/Salaries/Average-Salary-per-Month (accessed August 10, 2022).


                                                    34
Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 35 of 92




          Voyager and not DeFi here, this Tweet is an example of what led many Voyager
          customers into false confidence.
  Sanders Report 2, ¶¶ 30–37.

          93.      Dr. Castell similarly conducted a careful preliminary analysis to demonstrate the
  potential scope of damages resulting from VDL’s overcharges. This analysis, “relying on
  Voyager’s own reported figures,” reflected that VDL’s conduct has likely resulted or will result in
  over 1.08 billion dollars in damages to its users. 86
          94.      Dr. Castell agrees with Mr. Sanders in that VDL does not actually execute trades at
  the “best market price” as they advertise. “In summary, it is my firm preliminary opinion that the
  Voyager App does not materially provide the user functionality as represented by Voyager Digital
  as regards achieving the ‘best market price’ for the user/trader.” 87
          95.      The Voyager app was likely deliberately designed to not provide the actual
  functionality aspects represented to users. Dr. Castell states:
          Furthermore, in my preliminary opinion the failure of the Voyager App to provide
          the represented functionality is likely to be centered principally within elements of
          the coding or programmed behavior of the “Smart Order Router,” and/or the
          “Voyager Pricing Engine,” and/or the “Proprietary Fills Algorithm”, either acting
          alone, amongst themselves, or in conjunction with the Voyager Digital corporate
          software and systems with which these modules connect and inter-operate. 88
          In my preliminary view it is clear that the available technical evidence shows that
          the Voyager App does not materially provide the user functionality as represented
          by Voyager Digital as regards achieving the “best market price” or “fair market
          price” for the user/trader. 89
          96.      This obscurity leading to charging customers extra hidden fees is most likely known
  to VDL at least at this time, or earlier. Dr. Castell explains,
          …whether through an unintentional failure, or deliberate act, in my view such
          overcharge provisionally appears to be a definite software material defect, and it
          seems highly unlikely to me that the Voyager Digital company’s IT and corporate
          management did, and does, not know (and, if not, it should), what was and is
          happening as regards this software material defect and its overcharge/undisclosed
          commission financial consequences to the Voyager App user. 90



  86
     Castell report at ¶ 43
  87
     Id. at ¶ 45
  88
     Id. at ¶ 46
  89
     Id. at ¶ 40
  90
     Id. at ¶ 41


                                                    35
Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 36 of 92




           97.        According to Dr. Castell, each time a user was overcharged on their purportedly
  “commission free” trades, that overcharge amounted to no less than 0.5% of the total value of that
  user’s trade. “In my view this overcharge to the Voyager User may be characterized or thought of
  as essentially an undisclosed commission levied by Voyager Limited. The overcharge/ undisclosed
  commission varied somewhat per individual trade, between approximately 0.5% and 1% of the
  value of the trade, across all trades in the sample, i.e., the overcharge was never less than 0.5% of
  the value of the trade.” 91
           98.        According to Dr. Castell, it is a fact that there is a definite material defect in the
  design of the Voyager Platform software, either deliberately or negligently:
           In the meantime, whether the overcharge is as a result, on the part of Voyager
           Digital’s management, of a fault in Voyager Digital’s software development
           management, i.e. the company’s software design, build, testing, deployment and
           operational processes, or arises from a deliberate intent of the company to deceive
           and overcharge the users of its Voyager App, or some combination of both, in my
           view and experience, and dependent, as noted herein, on due inspection and
           examination of the software development, management and operational
           documentation to be disclosed by Voyager Digital, such overcharge provisionally
           appears to me to be a definite software material defect. I naturally defer to the court
           to make that finding legally in due course, and, if so, determine what restitution and
           compensation falls to be provided by Voyager Digital for the financial
           consequences of such a software material defect. 92
           99.        That said, Dr. Castell believes this material defect, which led to hundreds of
  millions of dollars in user overcharges, was not an accident, and was indeed deliberate in design:
           However, and subject to the Discovery that will be necessary to analyze definitively
           whether what the Voyager Digital company’s management is doing is intentional,
           in my preliminary view, since the overcharge/undisclosed commission appears to
           be present in every trade, it is highly likely that the Voyager App is deliberately
           conceived and designed by the company’s management to function that way, or,
           equally, the company’s management has grossly failed to discharge its requisite IT
           and corporate governance duties, and has failed to correct this software material
           defect, perhaps because it is to their company’s benefit. It seems highly unlikely to
           me that the Voyager Digital company’s IT and corporate management did, and
           does, not know (and, if not, it should), what was and is happening as regards this
           software material defect and its overcharge/undisclosed commission financial
           consequences to the Voyager App user. 93



  91
     Id. at ¶ 26
  92
     Id. at ¶ 29(b)
  93
     Id. at ¶ 29(c)


                                                       36
Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 37 of 92




          100.   VDL has failed to meet acceptable professional and transactional standards in the
  market segment they belong to. Dr. Castell concludes, based on his experience, that:
          Based on the evident material failure of Voyager Digital to provide its promised
          Voyager App “best market price,” and “100% Commission Free,” user
          functionalities, whether those failures be through deliberate policy and systems
          design, or through faults in software construction and operation, I am of the
          preliminary opinion that the technical governance of Voyager Digital in the
          management, operation, integrity, representations and security of its Voyager App
          and of its other management and customer systems are likely not to meet, in whole
          or in part, accepted professional standards for, and/or custom and practice in, the
          consumer electronic financial services and/or online trading sectors, but cannot
          arrive at a final considered view prior to Defendants’ discovery and disclosure. 94
       D. Defendants lure consumers into Voyager
          101.   Cuban is also no stranger to the cryptocurrency market. Earlier this year, in a
  podcast he did with Jon Stewart, he stated that 80% of the investments he makes outside of those
  on Shark Tank “are in or around cryptocurrencies” 95 because “[t]hat is really where I look to
  invest.” 96
          102.   On October 28, 2021, at a Mavericks press conference, Defendants announced that
  the Mavericks had entered into a 5-year “exclusive, integrated partnership” with Voyager. 97




  94
     Id. at ¶ 50
  95
      https://www.cnbc.com/2022/01/14/mark-cuban-says-80percent-of-his-non-shark-tank-investments-are-
  in-crypto.html (accessed August 10, 2022).
  96
     Id.
  97
     https://www.mavs.com/mavsvoyager/ (accessed August 10, 2022).


                                                  37
Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 38 of 92




         103.       Defendant Cuban proudly described how he would personally help significantly
  increase the scope and presence of the Deceptive Voyager Platform for those with limited funds
  and experience:
          You know, there’s a lot of hype, there’s a lot of discussion, but most people don’t
          understand the fundamentals behind it. We’re going to try to bring that level of
          education to our fans and to our joint customers.”
          To put it simply: there’s untapped potential in the future of digital currencies and
          it’s an attractive investment for novice investors who might only have $100 to start.
          That’s where Voyager enters the picture.
          In other words, it’s a way to earn high returns while also getting skin in the game
          and the Voyager platform makes the process easy and simplified for fans of all ages.
          The 60+ crypto assets allows you to build a diverse portfolio from a single account.
          You don’t have to spend a lot of money in order to learn. It’s not like the stock
          market where it’s almost impossible, except on a few platforms, to spend $10 and
          get started. My now 12-year-old son got me in Dogecoin when it was less than a
          penny. I was like “let’s do this” because it’s a cheap way for him to learn how all
          of this works. While you have to put in a $100 to get the $100 bonus the next two
          days, if you don’t have a hundred dollars and you just want to download the app
          and put in $5 and buy SHIBA INU (SHIB) and Dogecoin (DOGE), there’s a lot of
          ways to inexpensively start. 98
          104.      Defendant Ehrlich agreed with Cuban and added as follows:

          That’s one of the advantages of Voyager. You can actually download the app and
          fund your account and trade in three minutes or less. We make it really simple. We
          have a very easy-to-use and integrative platform that allows you to get engaged in
          the crypto market very quickly. That’s one of the values of Voyager. You’ll be
          trading in three minutes or less.

          About 220 million people have crypto right now and we (anticipate) a billion in
          four years. So that shows you where we can actually go with crypto and crypto
          adoption. Now the comparison there is the internet. It took the internet eight years,
          for the same time frame, for the internet to grow that fast. So it’s a great time to
          enter the space and learn more. 99

          105.      Cuban even hyped up the fact that he was investing his own money into the
  Deceptive Voyager Platform to further induce retail investors to follow in his footsteps: 100




  98
     https://www.mavs.com/mavsvoyager/ (accessed August 10, 2022)
  99
     Id.
  100
      https://www.youtube.com/watch?v=aB9GpBOroIw (accessed August 10, 2022)


                                                   38
Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 39 of 92




              I gotta add, I am a customer and I’ve been a customer for several months now, I
              like to use it, it’s easy, it’s cheap, it’s fast, and the pricing is actually really good,
              so we find it as a perfect fit for our Mavs fans and reaching Mavs fans of all ages.
              ...
              And, of course, the Mavs being a leader I think we are going to extend this far
              deeper than just Mavs fans, I think Voyager is going to be a leader amongst sports
              fans and crypto fans around the country.
              106.    Throughout the press conference, Cuban continuously represented that Voyager
  was an easy to use platform that offered the best pricing in the market:
              And so for those of you who already use crypto, I know for me it was really easy,
              I took some of my MATIC tokens that I own and transferred it over because
              Voyager paid a higher interest rate or return rate than the application I was using
              before, Aave. So it was really easy to give you a wallet address, you just go into
              your metamask or whatever you’re using, you just send it to that destination
              address, it shows up an hour later, you start earning more money, and so right
              immediately I was earning more when I went over to Voyager, and it’s the same
              with USDC, a stablecoin. And the other thing about it is for those of you who use
              DeFi, the pricing is always higher on DeFi as they try to look through all the
              decentralized financing platforms to try to get the best—not even the best, but a
              price— and so with Voyager, the pricing has been far, far better, so if you’re paying
              attention and want to get the best price, Voyager is a great platform for it.
              107.    Ehrlich, in turn, continuously touted the Voyager rewards program, posing it as a
  way to “educate” investors while they “create wealth,” and particularly that he wanted to get people
  as young as possible investing in the Deceptive Voyager Platform: 101

              You know, we have an extensive rewards program. As you hold a certain amount
              or level of assets you even get more rewards on the program, so we’re trying to
              engage you and bring you in the platform and teach and educate and create that
              wealth through our extensive rewards program.
              ...
              It’s never too late. I think actually it’s the right time. Because as I’ve said, I still
              think it’s the first half of the first quarter on crypto adoption. . . . It’s a great time to
              enter the space, learn more, and I think that’s the key. You’ve got to come in, you’ve
              got to learn, educate yourself. We help, we help educate, but you’ve got to learn
              more. And I think that’s the key.
              ...
              Financial literacy, we need to teach the youth, that’s part of what we want to bring,
              too, is the education when we build out the education, we’re in the middle of

  101
        Id.


                                                           39
Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 40 of 92




              building that out, crypto 101 is the first thing that we do to teach people. Teach the
              youth, go to the community and teach the youth about financial literacy, I think
              that’s important because most young kids don’t get the opportunity to learn about
              financial literacy and they wind up going to college and now they’re on their own
              and don’t know how to manage their money and they’re out in the real world
              earning salaries and they don’t even know what FICA is . . . but that’s what happens,
              and so we need to teach financial literacy and it’s gotta start at the young ages, you
              know we gotta get out there and it’s part of the plan.
              108.   Cuban also shamelessly pushed investors to invest heavily into USDC and other
  assets on the Deceptive Voyager Platform, claiming that investing in the Deceptive Voyager
  Platform was “as close to risk free as you’re going to get in the crypto universe,” that it was good
  for small businesses, and even that it was “a lot easier” than opening a savings account at a bank
  for young children: 102

              One of the reasons we want to do the education program is there’s a big opportunity
              for small businesses. One of the challenges of small businesses is if you have any
              cash in the bank, you’re making .025%. You can convert to put it into a USDC
              stablecoin on Voyager, and I thought it was 7% but now it’s 9%. And so I’ve taken
              a lot of my cash and made it available on USDC. I’m not here trying to sell you it’s
              100% risk free, but it’s as close to risk free as you’re going to get in the crypto
              universe. And so just the ability to make that much more on your savings as an
              individual and as a business is a huge opportunity.
              ...
              You don’t have to spend a lot of money in order to learn. It’s not like the stock
              market where it’s impossible except on a few platforms to spend $10 and get
              started. You know, my now 12-year-old son got me into Dogecoin when it was less
              than a penny.
              ...
              So there’s a lot of ways to inexpensively start to get an understanding. And it’s a
              lot easier than even opening up a savings account. It’s a pain in the ass to open up
              a savings account, particularly for your kids these days. There’s so much
              paperwork, and whether it’s yourself personally, someone you’re trying to teach—
              you’re trying to teach your kids about personal finance, believe it or not, this is
              actually a better way, and so that’s one of the unique opportunities and why it’s not
              too late.
              ...
              It’s also something you can do on your phone. You don’t have to have a bank
              account. So, people who are unbanked, trying to learn about financing, but have a

  102
        Id.


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Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 41 of 92




              smart phone and can download the app, you can start getting into this and saving
              your money and that’s just a unique opportunity.
              109.    Further, Ehrlich, contrary to the position he is now taking in the Voyager
  bankruptcy, claimed that the rewards program is based on “staking” assets that customers own (as
  opposed to lending them out to institutional investors like 3AC), and falsely stated that he was
  prioritizing security and insurance on customer’s cryptocurrency holdings: 103

              We’re connected to about a dozen different market makers, exchanges around the
              globe, and so we bring a best price back to consumers for that. . . . We run a rewards
              program, so when you bring your assets over, we’re going to reward you with
              earnings on those assets based upon your balances, based upon tokens you hold and
              so forth. And so it’s a whole rewards program that we’ve built together and it’s
              really probably state of the art when it comes to crypto with rewards programs, and
              that’s how we like to operate, to give consumers rewards back for using and holding
              assets on the platform.
              ...
              Our rewards are generated through staking, you know it’s a lot staking these days,
              we have 30-something coins that we offer rewards on and a bunch of them are on
              the staking side, yep.
              ...
              I was waiting for that question on security, it’s a really important aspect. Security
              starts with you as an individual. What we recommend to every individual that buys
              and sells cryptocurrency is to use two-factor authorization when you actually hold
              your cryptocurrency. Do not use an SMS text message, there are a lot of scammers
              out there, there are a lot of people who try to SIM-swap you, it almost happened to
              me a month ago, on a Friday night my phone was trying to be SIM-swapped and I
              caught it quick enough and called the phone company, but I use two-factor
              authentication and I think everybody should start there. That means using a Google
              authenticator, authy, duo, or any of the other products you can use for 2fa. Outside
              of that, after from you to us is we use multiple custodians. We do not keep all our
              coins in one place, we keep them across multiple custodians, we’ve built a really
              detailed infrastructure for that, to make sure that we’re spreading that risk and the
              insurance we get on all of that across multiple custodians, so it starts with the
              individual and making sure you have proper security and then it’s also us as well.
              110.    Finally, Cuban went to great lengths to cast investing in the Deceptive Voyager
  Platform as a “fun” opportunity with a low cost of entry: 104
              Access, first and foremost. The simplicity of access, The fact that you don’t have
              to rush into it and put all your money into it so patience is a big part of it. And then
  103
        Id.
  104
        Id.


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Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 42 of 92




         experimentation, right? Be curious. . . . Because there’s such a low cost of
         introduction and you know obviously the people who need the most education
         hopefully are spending the least amount of money, there’s a lot of programs and
         educational programs that we can do that guide people through the process. And
         that’s really the key. . . . One of the greatest values of the lower cost crypto isn’t so
         much “hey it could be an investment,” it’s more the community. . . . It’s a low cost
         entry to fun.
         111.    As an incentive, Defendants Cuban and the Mavericks even ran a promotion shortly
  after the press conference where individuals who downloaded the Voyager app to invest during a
  certain time would receive $100 in Bitcoin. 105
         112.    Although it is unclear without discovery to what extent Cuban was invested in the
  Deceptive Voyager Platform, how much he profited from his involvement in soliciting purchases
  of EPAs from investors around the country, or whether he was able to get his investment into the
  Deceptive Voyager Platform out before Voyager filed Chapter 11 bankruptcy, it would not be the
  first time he led investors to ruin while he was able to enrich himself at their expense.
         113.    Cuban previously endorsed the cryptocurrency Titan by Iron Finance, a coin he
  publicly endorsed that was trading at $65 promising over 200% APY which then crashed to
  $0.000000024 within a few days of his endorsement. 106 Cuban reported via Twitter (@mcuban)
  that “I got hit like everyone else. Crazy part is I got out, thought they were increasing their TVL
  enough. Than [sic] Bam.” Cuban never publicly disclosed whether he lost money in that
  transaction. 107 What was clear, though, is that Cuban’s public endorsement of Titan caused the
  price to double in a matter of days: “Many crypto investors follow the lead of crypto-friendly
  billionaires’ comments—and that could have contributed to the surge. At the start of June 13, the
  day of Cubans’ blog post, Titan was trading at $29. Three days later, it hit its peak.” 108 Thus,
  Cuban’s public statements clearly carry tremendous weight with the public.
         114.    As intended by Cuban, Ehrlich, and the Dallas Mavericks, their promotion worked.
  Hundreds of investors, including Class Member Anand Bhatt, who resides in Wyoming, joined
  Voyager. Anand recalls that “the only reason I signed up is because of Mark Cuban offering the
  free Bitcoin/Dallas Mavericks deal.”

  105
         https://markets.businessinsider.com/news/currencies/mark-cuban-dallas-mavericks-free-bitcoin-100-
  voyager-digital-app-2021-10 (accessed August 10, 2022).
  106
           https://www.publish0x.com/at-scottcbusiness/celebrity-crypto-endorsements-gone-wrong-xznzyqd
  (accessed August 10, 2022).
  107
      https://fortune.com/2021/06/17/crypto-titan-token-crash-mark-cuban/ (accessed August 10, 2022).
  108
      Id.


                                                    42
Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 43 of 92




            115.    As Plaintiff Pierce Robinson explained:
            So, I first heard about Voyager from Mark Cuban. The dogecoin hype was at its
            peak and I was thinking about investing in crypto. This was back in the summer of
            2021. I saw Mark promoting dogecoin and then Voyager and thought “he’s a sound
            investor,” so I downloaded the app and began to play around with a very small
            amount of money in June 2021. Later in the year, I remember the news was on
            Voyager and all over the TV and internet that there was a partnership with Mark
            and the Mavericks, so I trusted that it was legitimate started putting more and more
            money into the app. I invested even more because of the interest opportunities on
            Voyager that Mark loudly promoted the second half of last year.
            116.    Another Class Member, Katie Damore, states:
            I opened my Voyager account . . . after hearing Mark Cuban’s partnership and
            support with Voyager I felt overly confident in the platform and I made 3 more
            deposits . . . I am an inexperienced investor and crypto person and I got caught up
            in the hype.

            117.    Others have similarly pointed to Defendants for their decision to join Voyager:
            “[I] saw many statements from Mark Cuban stating that Voyager was “100% Risk
            Free, and it’s as close to risk free as you are going to get in the crypto universe . . .
            [Mark Cuban’s] trust in Voyager [] made me purchase the coin from Voyager . . .”
                    Class Member, Nikhila Beesetti
            “I was aware that Mark Cuban and others . . . had become investors . . . so I felt
            comfortable to move the bulk of my holdings to Voyager . . . These gave me
            comfort.”
                    Plaintiff, Marshall Peters
            118.    A further reason for the necessity of taking in as many customers as possible to use
  their funds to perpetuate the Deceptive Voyager Platform and related Ponzi scheme, Founder and
  President, Steve Ehrlich, explains the importance of “spread revenue” to his investors at the
  earnings call for Voyager’s Second Quarter for Fiscal Year 2021: 109
            With the growth of assets under management, we remind investors of our 2 main
            revenue sources, spread revenue and interest revenue. Estimated spread revenue is
            derived by the trading velocity of our assets while interest revenue was driven by
            the gross interest earned on the overall assets under management. Historically, the
            company has earned between 10 to 12% annualized revenue on assets under
            management.
            At this point, I would also like to remind investors of certain drivers of our business.
            As in agency brokerage business, market volatility can often act as our friend.

  109
        See Transcript of Voyager Digital FY2Q 2021 Earnings Call dated March 1, 2021, attached as Exhibit
  L.


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Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 44 of 92




         Voyager executes trades and captures spread revenue in both up and down markets.
         One example of the powerful agency model happened on Tuesday, February 23rd
         when Bitcoin decreased from a high of $56,000 to $45,000. That day, Voyager
         experienced a record day for trading volume, revenue and net deposits. Investors
         were very active buying the dips across all of the coins Voyager offers.
         119.    Defendants also relied on social media to promote Voyager. On May 3, 2021,
  Ehrlich made a number of misrepresentations to induce people to invest in Voyager, including that
  he and Voyager are “really trying to create wealth for retail investors,” and, citing his 25 years of
  experience    in   finance,   he   is   “looking      out   for   best   interests   of   consumers.”
  https://www.youtube.com/watch?v=nKevUsTGN3I (accessed August 10, 2022).
         120.    On October 13, 2021, when asked in an interview by Dan Weiskopf, “is it true the
  customers own the crypto, specifically Bitcoin and Ethereum on your platform, where that’s not
  necessarily the case on other platforms,” Ehrlich unequivocally stated that customers “absolutely”
  own all of their crypto on the platform and can remove it at any time: 110
         Yes, they absolutely own it. They can take it off the platform any time they want
         and bring it into their own personal wallets. You know, a lot of customers want us
         to hold it for them and everyone who brings crypto into us has a specified wallet
         address for them. But if you want to take it out to your own personal wallet, say
         you have a Trezor or a Ledger or you were using some other wallet app – yes, you
         can take it any time you want. Now we have limits on withdrawals and that’s for
         customer safety and protection but you can take anything off whenever you want,
         you know, no questions asked.
         He also stated that this ownership of the cryptocurrency assets is “a differentiator”
         from other wallet apps.
         121.    Ehrlich also made a number of misleading representations at an October 23, 2019
  interview broadcast on the internet, 111 including:

         We aren’t an exchange. We are a broker. We are a regulated agency broker so our
         job is to do nothing but find the best price and execution for the consumers. So we
         don’t have a horse in the race. We don’t have proprietary trading, we don’t need to
         get people to put orders off the bid and the ask, we are trying to find the best
         execution for the consumer on every single trade. We are a traditional online service
         provider, but in the crypto space.



  110

  https://twitter.com/mrstevensteele/status/1549665655275884545?s=11&t=aeo96ASWA8K8FMO
  gVdpqOA (accessed August 10, 2022).
  111
      https://www.youtube.com/watch?v=NwVA1wiDr5E (accessed August 10, 2022)


                                                   44
Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 45 of 92




         122.   Ehrlich even personally took to Reddit to host an “AMA” (Ask-Me-Anything)
  session on the r/Invest_Voyager subreddit, in order to communicate directly with Voyager
  customers and potential Voyager customers in order to induce them to invest or to continue
  investing in the Deceptive Voyager Platform: 112




  112

  https://www.reddit.com/r/Invest_Voyager/comments/tbyp2w/ama_hi_reddit_im_steve_ehrlich_voyagers_
  cofounder/?utm_source=share&utm_medium=ios_app&utm_name=iossmf (accessed August 10, 2022)


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Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 46 of 92




           123.    During that AMA, Ehrlich played up Cuban’s involvement as his advisor:




        124.   He also played up Voyager’s “transparency”:




                                             46
Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 47 of 92




         125.    He even advocated for customers to ditch their bank accounts in favor of investing
  in Voyager:




         126.    Ehrlich also falsely represented that he and Voyager sought to “ensure the safety
  and security of all customer assets at all points in time,” that customers could earn rewards with
  “no lockup on your token,” and that Voyager “eat[s the] risk on our end to ensure you get a
  consistent monthly return on your end”:




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Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 48 of 92




         127.    When specifically asked whether he anticipated any “major fines like BlockFi,”
  Ehrlich sought to reassure his customers:




         128.    Although Ehrlich claims that one of the major benefits of Voyager is its
  transparency, his own dealings in connection with Voyager have been extremely opaque.
  According to a report from CNBC, Ehrlich made millions of dollars selling Voyager shares in
  February and March 2021 when shares were near their peak, financial records show, in an apparent
  insider trading move. 113 What is evident, based on corporate insider disclosures and Voyager
  filings, is that Ehrlich made over $30 million disposing of Voyager equity as the crypto lender’s
  shares neared an all-time high. 114 Ehrlich and his Delaware LLCs sold nearly 1.9 million shares
  from February 9, 2021, to March 31, 2021, in 11 separate sales which totaled $31 million,
  according to data from the Canadian Securities Administration. 115 The three largest of Ehrlich’s
  transactions – totaling 1.4 million shares worth nearly $19 million – were connected to a
  $50,000,000 secondary offering by Stifel Nicolaus in February 2021. 116 Voyager shares would
  peak at $29.86 a week after Ehrlich’s final sale on April 5, 2021. 117 Three weeks later, VOYG
  shares had lost 41% of their value. By November 2021 — as the crypto market overall was peaking
  —Voyager was down 69% from its peak. 118




  113
       https://www.cnbc.com/2022/08/03/voyager-ceo-made-millions-in-stock-sales-in-2021.html (accessed
  August 10, 2022).
  114
      Id.
  115
      Id.
  116
      Id.
  117
      Id.
  118
      Id.


                                                  48
Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 49 of 92




                                   CLASS ACTION ALLEGATIONS
         129.    As detailed below in the individual counts, Plaintiffs bring this lawsuit on behalf of
  themselves and all others similarly situated, pursuant to Rule 23(a), (b)(2), (b)(3), and/or (c)(4) of
  the Federal Rules of Civil Procedure.
             A. Class Definitions
         130.    Plaintiffs seek to represent the following Nationwide Classes and State Subclasses
  (collectively, “the Classes”):
                 (1) Nationwide Class: All persons or entities in the United States
                     who, within the applicable limitations period, purchased or
                     enrolled in an EPA.
                 (2) Florida Subclass: All persons or entities in the state of Florida
                     who, within the applicable limitations period, purchased or
                     enrolled in an EPA.
                 (3) New Jersey Subclass: All persons in the state of New Jersey
                     who, within the applicable limitations period, purchased or
                     enrolled in an EPA.
                 (4) Virginia Subclass: All persons in the state of Virginia who,
                     within the applicable limitations period, purchased or enrolled
                     in an EPA.
                 (5) Alabama Subclass: All persons in the state of Alabama who,
                     within the applicable limitations period, purchased or enrolled
                     in an EPA.
                 (6) Louisiana Subclass: All persons in the state of Louisiana who,
                     within the applicable limitations period, purchased or enrolled
                     in an EPA.
                 (7) California Subclass: All persons in the state of California who,
                     within the applicable limitations period, purchased or enrolled
                     in an EPA.
                 (8) Oklahoma Subclass: All persons in the state of Oklahoma who,
                     within the applicable limitations period, purchased or enrolled
                     in an EPA.



                                                   49
Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 50 of 92




                 (9) Pennsylvania Subclass: All persons in the state of Pennsylvania
                     who, within the applicable limitations period, purchased or
                     enrolled in an EPA.
                 (10)    Tennessee Subclass: All persons in the state of Tennessee
                     who, within the applicable limitations period, purchased or
                     enrolled in an EPA.
  Excluded from the Classes are Defendants and their officers, directors, affiliates, legal
  representatives, and employees, any governmental entities, any judge, justice, or judicial officer
  presiding over this matter and the members of their immediate families and judicial staff. Plaintiffs
  reserve the right to modify or amend the definition of the proposed Nationwide, Florida, New
  Jersey, California, Pennsylvania, Oklahoma, Tennessee, Alabama, Virginia, or Louisiana
  Subclasses, or to include additional classes or subclasses, before or after the Court determines
  whether such certification is appropriate as discovery progresses.
             B. Numerosity
         131.    The Classes are comprised of thousands, if not millions, of consumers nationwide
  and throughout the states of Florida, New Jersey, California, Pennsylvania, Oklahoma, Tennessee,
  Alabama, Virginia, or Louisiana, to whom Voyager offered and/or sold EPAs. Moreover,
  thousands, if not millions, of consumers nationwide and throughout these states have executed
  trades on the Voyager Platform within the applicable limitations period. Membership in the
  Classes is thus so numerous that joinder of all members is impracticable. The precise number of
  class members is currently unknown to Plaintiffs but is easily identifiable through Voyager’s
  corporate records. Undersigned Counsel currently represents dozens of Voyager customers who
  all have collectively sustained millions of dollars in damages proximately caused by the Deceptive
  Voyager Platform and related Ponzi scheme.
             C. Commonality/Predominance
         132.    This action involves common questions of law and fact, which predominate over
  any questions affecting individual class members. These common legal and factual questions
  include, but are not limited to, the following:
             (a) whether the EPAs were unregistered securities under federal, Florida, New Jersey,
                 California, Pennsylvania, Oklahoma, Tennessee, Alabama, Virginia, or Louisiana
                 law;



                                                    50
Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 51 of 92




             (b) whether Defendants’ participation and/or actions in Voyager’s offerings and sales
                 of EPAs violate the provisions of the Securities Act and Florida, New Jersey,
                 California, Pennsylvania, Oklahoma, Tennessee, Alabama, Virginia, or Louisiana
                 securities law.
             (c) the type and measure of damages suffered by Plaintiffs and the Classes.
             (a) whether Defendants’ description of the Voyager Platform as being “100%
                 commission free” is deceptive, unfair, false and misleading;
             (b) whether Defendants’ representations are objectively likely to mislead reasonable
                 consumers to believe that their trading platform operates as “100% commission
                 free”;
             (c) whether Defendants’ practices violate the UDAP statutes of Florida, New Jersey,
                 California, Pennsylvania, Oklahoma, Tennessee, Alabama, Virginia, or Louisiana;
             (d) whether Plaintiffs and Class members have sustained monetary loss and the proper
                 measure of that loss;
             (e) whether Plaintiffs and Class members are entitled to injunctive relief;
             (f) whether Plaintiffs and Class members are entitled to declaratory relief; and
             (g) whether Plaintiffs and Class members are entitled to consequential damages,
                 punitive damages, statutory damages, disgorgement, and/or other legal or equitable
                 appropriate remedies as a result of Defendants’ conduct.
             D. Typicality
         133.    Plaintiffs’ claims are typical of the claims of the members of the Classes because
  all members were injured through the uniform misconduct described above, namely that Plaintiffs
  and all class members were offered and/or sold Voyager’s EPAs as a result of Defendants’ actions
  and/or participation in the offering and sale of these unregistered securities, or that Plaintiffs and
  all members were exposed to Defendants’ misrepresentations and omissions regarding the
  Voyager Platform being “100% commission free,” and Plaintiffs are advancing the same claims
  and legal theories on behalf of themselves and all such members. Further, there are no defenses
  available to either Defendant that are unique to Plaintiffs.
             E. Adequacy of Representation
         134.    Plaintiffs will fairly and adequately protect the interests of the members of the
  Classes. Plaintiffs have retained counsel experienced in complex consumer class action litigation,



                                                   51
Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 52 of 92




  and Plaintiffs intend to prosecute this action vigorously. Plaintiffs have no adverse or antagonistic
  interests to those of the Classes. Plaintiffs anticipate no difficulty in the management of this
  litigation as a class action. To prosecute this case, Plaintiffs have chosen the undersigned law firm,
  which has the financial and legal resources to meet the substantial costs and legal issues associated
  with this type of consumer class litigation.
             F. Requirements of Fed. R. Civ. P. 23(b)(3)
         135.    The questions of law or fact common to Plaintiffs’ and each Classes member’s
  claims predominate over any questions of law or fact affecting only individual members of the
  Classes. All claims by Plaintiffs and the unnamed members of the Classes are based on the
  common course of conduct by Defendants (1) in marketing, offering, and/or selling the EPAs,
  which are unregistered securities, (2) in making identical and uniform misrepresentations and
  omissions regarding the functionality of the Deceptive Voyager Platform, and/or (3) in receiving
  secret undisclosed compensation for their promotion of the Deceptive Voyager Platform and
  related Ponzi Scheme.
         136.    Common issues predominate when, as here, liability can be determined on a class-
  wide basis, even when there will be some individualized damages determinations.
         137.    As a result, when determining whether common questions predominate, courts
  focus on the liability issue, and if the liability issue is common to the Classes as is in the case at
  bar, common questions will be held to predominate over individual questions.
             G. Superiority
         138.    A class action is superior to individual actions for the proposed Classes, in part
  because of the non-exhaustive factors listed below:
             (a) Joinder of all Class members would create extreme hardship and inconvenience for
                 the affected customers as they reside nationwide and throughout the state;
             (b) Individual claims by Class members are impracticable because the costs to pursue
                 individual claims exceed the value of what any one Class member has at stake. As
                 a result, individual Class members have no interest in prosecuting and controlling
                 separate actions;
             (c) There are no known individual Class members who are interested in individually
                 controlling the prosecution of separate actions;




                                                   52
Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 53 of 92




             (d) The interests of justice will be well served by resolving the common disputes of
                 potential Class members in one forum;
             (e) Individual suits would not be cost effective or economically maintainable as
                 individual actions; and
             (f) The action is manageable as a class action.
             H. Requirements of Fed. R. Civ. P. 23(b)(2)
         139.    Defendants have acted and refused to act on grounds generally applicable to the
  classes by engaging in a common course of conduct of aiding and abetting the offering and/or
  selling the EPAs, which are unregistered securities, thereby making appropriate final injunctive
  relief or declaratory relief with respect to the classes as a whole.
         140.    Defendants have acted and refused to act on grounds generally applicable to the
  classes by engaging in a common course of conduct of uniformly identical and uniform
  misrepresentations and omissions regarding the functionality of the Deceptive Voyager Platform,
  and/or in receiving secret undisclosed compensation for their promotion of the Deceptive Voyager
  Platform and related Ponzi Scheme, thereby making appropriate final injunctive relief or
  declaratory relief with respect to the classes as a whole.
             I. Requirements of Fed. R. Civ. P. 23(c)(4)
         141.    As it is clear that one of the predominant issues regarding Defendants’ liability is
  whether the EPAs Voyager offered and/or sold are unregistered securities, utilizing Rule 23(c)(4)
  to certify the “EPA” Classes for a class wide adjudication on this issue would materially advance
  the disposition of the litigation as a whole.
         142.    As it is clear that another predominant issue regarding Defendants’ liability is
  whether they have violated the consumer protection and securities laws of Florida, New Jersey,
  California, Pennsylvania, Oklahoma, Tennessee, Alabama, Virginia, or Louisiana in making
  identical and uniform misrepresentations and omissions regarding the functionality of the
  Deceptive Voyager Platform, and/or in receiving secret undisclosed compensation for their
  promotion of the Deceptive Voyager Platform and related Ponzi Scheme, utilizing Rule 23(c)(4)
  to certify the “Platform” Classes for a class wide adjudication on this issue would materially
  advance the disposition of the litigation as a whole.




                                                    53
Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 54 of 92




               J. Nature of Notice to the Proposed Classes.
            143.   The names and addresses of all Class Members are contained in the business
  records maintained by Voyager and are readily available to Voyager. The Class Members are
  readily and objectively identifiable. Plaintiffs contemplate that notice will be provided to Class
  Members by e-mail, mail, and published notice.
                        THE NATIONWIDE AND NEW JERSEY CLAIMS
                                             COUNT ONE
                                      Aiding and Abetting Fraud
   (Plaintiffs Individually and on behalf of the Nationwide Class, alternatively Plaintiff Sayed
                        individually and on behalf of the New Jersey subclass)
            144.   Plaintiffs repeat and re-allege the allegations contained in paragraphs 1–143 above,

  as if fully set forth herein.

            145.   Voyager and VDL represented to Plaintiffs that the Voyager Platform was “100%
  Commission-free” to unfairly obtain an edge over their competition who openly disclose the
  commissions and fees they charge on cryptocurrency trades, when Voyager did in fact did charge
  Plaintiffs and Class members undisclosed commissions on cryptocurrency trades made on the
  Deceptive Voyager Platform. Voyager and VDL also misrepresented Voyager’s FDIC insured
  status, repeatedly stating that assets held in the Deceptive Voyager Platform were as “safe” as if
  they were in a bank, misleading customers and prospective customers with the false impression
  that any cryptocurrency assets held on the Deceptive Voyager Platform were FDIC insured.
            146.   Voyager made these misrepresentations and/or omitted material facts to the
  Plaintiffs via its misconduct.
            147.   Defendants substantially assisted or encouraged the wrongdoing done by Voyager
  to Plaintiffs by publicly supporting and endorsing Voyager and encouraging Plaintiffs to invest in
  Voyager; in doing so, Defendants made material misrepresentations and/or omitted material facts
  concerning Voyager to Plaintiffs, as described above. For example, Defendant Ehrlich
  misrepresented the extent of the FDIC insurance on USD holdings and misled customers with the
  false impression that each Voyager customer could hold up to $250,000 in their individual Voyager
  account wallets and avail themselves of that important federal protection in the event Voyager
  failed.



                                                    54
Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 55 of 92




          148.    Further, Defendants had knowledge of such fraud because of their experience and
  relationship with Voyager, as described above and as such, knew that the representations made to
  Plaintiffs were deceitful and fraudulent.
          149.    Defendants substantively participated in the fraud by pushing these false
  representations, knowing full well they were false, and lending their credibility as experienced
  investors to dupe the public into investing into the Deceptive Voyager Platform, through press
  conference and via social media, which contained clear misstatements and omitted material facts
  that should have been disclosed to Plaintiffs, and by other actions described in this complaint.
          150.    Defendants’ aiding and abetting the fraud done by Voyager caused damages to
  Plaintiffs in the amount of their lost investments.

                                              COUNT TWO
                            Aiding and Abetting Breach of Fiduciary Duty
   (Plaintiffs Individually and on behalf of the Nationwide Class, alternatively Plaintiff Sayed
                        individually and on behalf of the New Jersey subclass)
          151.    Plaintiffs repeat and re-allege the allegations contained in paragraphs 1–143 above,
  as if fully set forth herein.
          152.    As alleged above, Voyager breached its fiduciary duties to Plaintiffs.
          153.    Defendants substantially assisted or encouraged the wrongdoing that constituted
  the breach of fiduciary duty owed by Voyager by publicly supporting and endorsing Voyager and
  encouraging Plaintiffs to invest in Voyager; in doing so, Defendants made material
  misrepresentations and/or omitted material facts concerning Voyager to Plaintiffs, as described
  above. For example, Defendant Ehrlich misrepresented the extent of the FDIC insurance on USD
  holdings and misled customers with the false impression that each Voyager customer could hold
  up to $250,000 in their individual Voyager account wallets and avail themselves of that important
  federal protection in the event Voyager failed.
          154.    Defendants pushed these false representations, knowing full well they were false,
  and lent their credibility as experienced investors to dupe the public into investing into the
  Deceptive Voyager Platform, through press conference and via social media, which contained
  clear misstatements and omitted material facts that should have been disclosed to Plaintiffs, and
  by other actions described in this complaint.



                                                    55
Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 56 of 92




          155.    Defendants’ aiding and abetting the breach of fiduciary duty caused damages to
  Plaintiffs in the amount of their lost investments.


                                           COUNT THREE
                                           Civil Conspiracy
   (Plaintiffs Individually and on behalf of the Nationwide Class, alternatively Plaintiff Sayed
                        individually and on behalf of the New Jersey subclass)
          156.    Plaintiffs repeat and re-allege the allegations contained in paragraphs 1–143 above,
  as if fully set forth herein.
          157.    Voyager and VDL represented to Plaintiffs that the Voyager Platform was “100%
  Commission-free” to unfairly obtain an edge over their competition who openly disclose the
  commissions and fees they charge on cryptocurrency trades, when Voyager did in fact did charge
  Plaintiffs and Class members undisclosed commissions on cryptocurrency trades made on the
  Deceptive Voyager Platform. Voyager and VDL also misrepresented Voyager’s FDIC insured
  status, repeatedly stating that assets held in the Deceptive Voyager Platform were as “safe” as if
  they were in a bank, misleading customers and prospective customers with the false impression
  that any cryptocurrency assets held on the Deceptive Voyager Platform were FDIC insured.
          158.    Voyager entered into one or more agreements with Defendants with the purpose of
  making these misrepresentations and/or omissions to induce Plaintiffs and consumers to invest in
  Voyager and/or use the Voyager Platform.
          159.    Defendants engaged in unlawful acts with Voyager, namely, the misrepresentations
  made to Plaintiffs concerning the undisclosed commissions on cryptocurrency trades made on the
  Voyager Platform and Voyager’s FDIC insured status.
          160.    Defendants’ conspiracy substantially assisted or encouraged the wrongdoing
  conducted by Voyager; further, Defendants had knowledge of such fraud and/or wrongdoing,
  because of their experience and relationship with Voyager, as described above and as such, knew
  that the representations made to Plaintiffs were deceitful and fraudulent.
          161.    Plaintiffs allege that Defendants had actual knowledge, which can be inferred from
  the totality of the circumstances of the events plead in this complaint. Plaintiffs lack access to the
  very discovery materials which would illuminate the Defendants’ state of mind. But participants
  in a fraud do not affirmatively declare to the world that they are engaged in the perpetration of a



                                                   56
Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 57 of 92




  fraud. Intent to commit fraud is to be divined from surrounding circumstances, and in this case,
  Plaintiffs plead that Defendants participated in the fraud by participating in the creation of
  Voyager’s marketing strategy which contained clear misstatements and omit material facts that
  should have been disclosed to Plaintiffs, and by other actions described in this complaint.
          162.    Defendants’ conspiracy with Voyager to commit fraud caused damages to Plaintiffs
  in the amount of their lost investments.


                                             COUNT FOUR
                       For Violations of the New Jersey Consumer Fraud Act,
                                             §§ 56:8-1 et seq.
   (Plaintiffs Individually and on behalf of the Nationwide Class, alternatively Plaintiff Sayed
                        individually and on behalf of the New Jersey subclass)
          163.    Plaintiffs repeat and re-allege the allegations contained in paragraphs 1–143 above,
  as if fully set forth herein.
          164.    The New Jersey Consumer Fraud Act, N.J.S.A. 56:8-1, et seq., prohibits the “use
  or employment by any person of any unconscionable commercial practice, deception, fraud, false
  pretense, false promise and misrepresentation . . . in connection with the sale or advertisement of
  any merchandise or real estate, or with the subsequent performance of such person as aforesaid,
  whether or not any person has in fact been misled, deceived or damaged thereby.” N.J.S.A 56:8-
  2.
          165.    Defendants have engaged in, and continue to engage in, unconscionable
  commercial practices, deceptive acts, and misrepresentations in the conduct of its trade and/or
  commerce in the State of New Jersey, as described more fully hereinabove.
          166.    Defendants’ statements regarding the Voyager Platform being “100% Commission-
  Free” were false and misleading because Voyager in fact did charge Plaintiffs and Class members
  undisclosed commissions on cryptocurrency trades made on the Voyager Platform.
       167.       Defendant’s acts and omissions constitute both deceptive and unfair trade practices
          because the false representations and omissions made by Defendants have a tendency or
          capacity to deceive consumers, such as Plaintiff and Class members, into investing in the
          Comp any’s falsely touted business and are immoral, unethical, oppressive, unscrupulous,




                                                    57
Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 58 of 92




         or substantially injurious to consumers. Those acts and omissions include, among other
         things as more fully alleged above:
             a. knowingly and intentionally concealing the Defendant’s specific roles and interests
                 in Voyager;
             b. knowingly and intentionally using and/or failing to disclose the use of the Promotor
                 Defendants to “instill trust” in uninformed investors to promote the financial
                 benefits of a highly speculative and risky investment in Voyager, in an effort to
                 induce them to purchase Voyager EPAs;
             c. Making statements, either knowingly and intentionally, negligently, or with
                 reckless disregard for their veracity, that the Voyager Platform is “100%
                 Commission-Free” although Voyager did in fact did charge Plaintiff and Class
                 members undisclosed commissions on cryptocurrency trades made on the Voyager
                 Platform.
             d. Making statements, either knowingly and intentionally, negligently, or with
                 reckless disregard for their veracity, that funds or assets held in the Voyager
                 Platform are FDIC insured.
         168.    The NJCFA further provides that “[a]ny person who suffers an ascertainable loss
  of moneys or property, real or personal, as a result of the use or employment by another person of
  any method, act, or practice declared unlawful under the [NJCFA] may bring an action or assert a
  counterclaim therefore in any court of competent jurisdiction. N.J.S.A. 56:8-19.
         169.    Plaintiffs and the Class are “person(s)” as that term is defined in N.J.S.A.56:8-1(d).
         170.    Plaintiffs and the Class have suffered an ascertainable loss of moneys or property
  as a direct and proximate result of VDL’s unconscionable practices.
         171.    Plaintiffs and the Class have a private right of action against Defendants and it
  entitles them to recover, in addition to their actual damages, a threefold award of the damages
  sustained by any person, interest, an award of reasonable attorney’s fees, filing fees and reasonable
  costs of suit. N.J.S.A 56:8-19.
         172.    Plaintiffs and the Class have suffered, and will continue to suffer, irreparable harm
  if Defendants continue to engage in such deceptive, unfair, and unreasonable practices.




                                                   58
Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 59 of 92




                                             COUNT FIVE

                           Violations of New Jersey Statute Section 49:3-60,
   (Plaintiffs Individually and on behalf of the Nationwide Class, alternatively Plaintiff Sayed
                      individually and on behalf of the New Jersey subclass)

          173.    Plaintiffs repeat and re-allege the allegations contained in paragraphs 1–143 above,
  as if fully set forth herein.
          174.    N.J.S.A. 49:3-60 provides that it is unlawful for any person to sell or offer to sell a
  security within the State of New Jersey unless the security is exempt under N.J.S.A. 49:3-50, is a
  federally covered security, or is registered pursuant to Section 49.
          175.    N.J.S.A. 49:3-52 also makes it unlawful “for any person, in connection with the
  offer, sale, or purchase of any security,” to either directly or indirectly:
              a. employ any device, scheme, or artifice to defraud;
              b. make any untrue statement of a material fact or to omit to state a material fact
                  necessary in order to make the statements made, in the light of the circumstances
                  under which they are made, not misleading; or
              c. engage in any act, practice, or course of business which operates or would operate
                  as a fraud or deceit upon any person.
          176.    The Voyager Earn Program Account is a security pursuant to N.J.S.A. 49:3-49(m).
          177.    The Voyager Earn Program Account was and is required to be registered with the
  Bureau pursuant to N.J.S.A. 49:3-60.
          178.    The Voyager EPAs offered for sale to Plaintiffs and Class members have not been
  registered with the Bureau, are not exempt from registration, and are not federally covered.
          179.    In promoting the Voyager EPAs and encouraging Plaintiffs and Class members to
  invest in Voyager, Defendants made untrue statements of a material fact or to omit to state a
  material fact necessary in order to make the statements made, in the light of the circumstances
  under which they are made, not misleading, concerning the Voyager EPAs and the Voyager
  Platform, as described above.
          180.    Defendants assisted in and actively participated in Voyager’s offer and sale of the
  unregistered Voyager EPAs to Plaintiffs and the members of the Class.
          181.    As a result of these actions, Defendants violated N.J.S.A. 49:3-60.




                                                    59
Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 60 of 92




                                             COUNT SIX
                                       Unjust Enrichment
   (Plaintiffs Individually and on behalf of the Nationwide Class, alternatively Plaintiff Sayed
                      individually and on behalf of the New Jersey subclass)
         182.    Plaintiff realleges and incorporates by reference the allegations contained in
  paragraphs 1–143 as if fully set forth herein.
         183.    Plaintiffs and Class members conferred upon the Defendants non-gratuitous
  payments of undisclosed commissions on cryptocurrency trades made on the Voyager Platform.
  Defendants appreciated, accepted and/or retained, in whole or in part, the non-gratuitous benefits
  conferred by Plaintiffs and Class members.
         184.    Defendants profited from their unlawful collection and retention of undisclosed
  commissions at the expense of Plaintiff and Class members, under circumstances in which it would
  be unjust for the Defendants to be permitted to retain the benefit. Under common law principles
  of unjust enrichment, the Defendants should not be permitted to retain the benefits of this unjust
  enrichment, as they were obtained through deceptive representations and omissions, as more fully
  described above.
         185.    Because the Defendants’ retention of the non-gratuitous benefits conferred by
  Plaintiffs and Class members is unjust and inequitable, Plaintiffs and Class members suffered
  damages as a result of the Defendants’ unjust enrichment, and are entitled to, and hereby seek
  disgorgement and restitution of the Defendants’ wrongful profits, revenue, and benefits in a
  manner established by the Court.
                                           COUNT SEVEN
                                        Declaratory Judgment
                     (Declaratory Judgment Act, N. J. S. A. 2A:16-51 et seq.)
   (Plaintiffs Individually and on behalf of the Nationwide Class, alternatively Plaintiff Sayed
                      individually and on behalf of the New Jersey subclass)
          184. Plaintiff realleges and incorporates by reference the allegations contained in
  paragraphs 1–143 as if fully set forth herein.
          185.   This Count is asserted against Defendants under Section 2A:16-59 of the New
  Jersey Revised Statutes.
          186.   The Declaratory Judgments Act, N.J. Stat. Ann. § 2A:16-51 et seq. (West),
  authorizes courts to declare rights, status and other legal relations so as to afford litigants relief
  from uncertainty and insecurity. Chamber of Com. of U. S. v. State, 89 N.J. 131, 140 (1982). To


                                                   60
Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 61 of 92




  maintain such an action, there must be a “justiciable controversy” between adverse parties, and
  plaintiff must have an interest in the suit.
          187.    Plaintiffs and the members of the Class have an obvious and significant interest in
  this lawsuit.
          188.    Plaintiffs and members of the Class purchased EPAs, based in part on justifiable
  reliance on the Defendants’ misrepresentations and omissions regarding the Deceptive Voyager
  Platform as further described hereinabove.
          189.    If the true facts had been known, including but not limited to that the EPAs are
  unregistered securities, the Deceptive Voyager Platform does not work as represented, Voyager
  operated as a Ponzi scheme, and Mark Cuban was paid exorbitant sums of money to peddle
  Voyager to the nation, Plaintiffs and the Class would not have purchased EPAs in the first place.
          190.    Thus, there is a justiciable controversy over whether the EPAs were sold illegally,
  and whether the Defendants illegally solicited their purchases from Plaintiffs and the Class.
          191.    Plaintiffs and the Class seek an order declaring that the EPAs were securities
  required to be registered with the SEC and state regulatory authorities, that the Deceptive Voyager
  Platform did not work as represented, Voyager operated as a Ponzi scheme, and Mark Cuban was
  paid exorbitant sums of money to peddle Voyager to the nation.


                                       THE FLORIDA CLAIMS
                                            COUNT EIGHT
                                      Aiding and Abetting Fraud
   (Plaintiffs Robertson, Ms. Gold, Mr. Gold Individually and on behalf of the Florida Class)
          192.    Plaintiffs repeat and re-allege the allegations contained in paragraphs 1–143 above,
  as if fully set forth herein.
          193.    Voyager and VDL represented to Plaintiffs that the Voyager Platform was “100%
  Commission-free” to unfairly obtain an edge over their competition who openly disclose the
  commissions and fees they charge on cryptocurrency trades, when Voyager did in fact did charge
  Plaintiffs and Class members undisclosed commissions on cryptocurrency trades made on the
  Deceptive Voyager Platform. Voyager and VDL also misrepresented Voyager’s FDIC insured
  status, repeatedly stating that assets held in the Deceptive Voyager Platform were as “safe” as if




                                                   61
Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 62 of 92




  they were in a bank, misleading customers and prospective customers with the false impression
  that any cryptocurrency assets held on the Deceptive Voyager Platform were FDIC insured.
            194.   Voyager made these misrepresentations and/or omitted material facts to the
  Plaintiffs via its misconduct.
            195.   Defendants substantially assisted or encouraged the wrongdoing done by Voyager
  to Plaintiffs by publicly supporting and endorsing Voyager and encouraging Plaintiffs to invest in
  Voyager; in doing so, Defendants made material misrepresentations and/or omitted material facts
  concerning Voyager to Plaintiffs, as described above. For example, Defendant Ehrlich
  misrepresented the extent of the FDIC insurance on USD holdings and misled customers with the
  false impression that each Voyager customer could hold up to $250,000 in their individual Voyager
  account wallets and avail themselves of that important federal protection in the event Voyager
  failed.
            196.   Further, Defendants had knowledge of such fraud because of their experience and
  relationship with Voyager, as described above and as such, knew that the representations made to
  Plaintiffs were deceitful and fraudulent.
            197.   Defendants substantively participated in the fraud by pushing these false
  representations, knowing full well they were false, and lending their credibility as experienced
  investors to dupe the public into investing into the Deceptive Voyager Platform, through press
  conference and via social media, which contained clear misstatements and omitted material facts
  that should have been disclosed to Plaintiffs, and by other actions described in this complaint.
            198.   Defendants’ aiding and abetting the fraud done by Voyager caused damages to
  Plaintiffs in the amount of their lost investments.


                                              COUNT NINE
                            Aiding and Abetting Breach of Fiduciary Duty
   (Plaintiffs Robertson, Ms. Gold, Mr. Gold Individually and on behalf of the Florida Class)
            199.   Plaintiffs repeat and re-allege the allegations contained in paragraphs 1–143 above,
  as if fully set forth herein.
            200.   As alleged above, Voyager breached its fiduciary duties to Plaintiffs.
            201.   Defendants substantially assisted or encouraged the wrongdoing that constituted
  the breach of fiduciary duty owed by Voyager by publicly supporting and endorsing Voyager and



                                                    62
Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 63 of 92




  encouraging Plaintiffs to invest in Voyager; in doing so, Defendants made material
  misrepresentations and/or omitted material facts concerning Voyager to Plaintiffs, as described
  above. For example, Defendant Ehrlich misrepresented the extent of the FDIC insurance on USD
  holdings and misled customers with the false impression that each Voyager customer could hold
  up to $250,000 in their individual Voyager account wallets and avail themselves of that important
  federal protection in the event Voyager failed.
          202.    Defendants pushed these false representations, knowing full well they were false,
  and lent their credibility as experienced investors to dupe the public into investing into the
  Deceptive Voyager Platform, through press conference and via social media, which contained
  clear misstatements and omitted material facts that should have been disclosed to Plaintiffs, and
  by other actions described in this complaint.
          203.    Defendants’ aiding and abetting the breach of fiduciary duty caused damages to
  Plaintiffs in the amount of their lost investments.


                                             COUNT TEN
                                           Civil Conspiracy
   (Plaintiffs Robertson, Ms. Gold, Mr. Gold Individually and on behalf of the Florida Class)
          204.    Plaintiffs repeat and re-allege the allegations contained in paragraphs 1–143 above,
  as if fully set forth herein.
          205.    Voyager and VDL represented to Plaintiffs that the Voyager Platform was “100%
  Commission-free” to unfairly obtain an edge over their competition who openly disclose the
  commissions and fees they charge on cryptocurrency trades, when Voyager did in fact did charge
  Plaintiffs and Class members undisclosed commissions on cryptocurrency trades made on the
  Deceptive Voyager Platform. Voyager and VDL also misrepresented Voyager’s FDIC insured
  status, repeatedly stating that assets held in the Deceptive Voyager Platform were as “safe” as if
  they were in a bank, misleading customers and prospective customers with the false impression
  that any cryptocurrency assets held on the Deceptive Voyager Platform were FDIC insured.
          206.    Voyager entered into one or more agreements with Defendants with the purpose of
  making these misrepresentations and/or omissions to induce Plaintiffs and consumers to invest in
  Voyager and/or use the Voyager Platform.




                                                    63
Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 64 of 92




          207.    Defendants engaged in unlawful acts with Voyager, namely, the misrepresentations
  made to Plaintiffs concerning the undisclosed commissions on cryptocurrency trades made on the
  Voyager Platform and Voyager’s FDIC insured status.
          208.    Defendants’ conspiracy substantially assisted or encouraged the wrongdoing
  conducted by Voyager; further, Defendants had knowledge of such fraud and/or wrongdoing,
  because of their experience and relationship with Voyager, as described above and as such, knew
  that the representations made to Plaintiffs were deceitful and fraudulent.
          209.    Defendants’ conspiracy with Voyager to commit fraud caused damages to Plaintiffs
  in the amount of their lost investments.


                                          COUNT ELEVEN
             For Violations of the Florida Deceptive and Unfair Trade Practices Act,
                                  § 501.201, Florida Statutes, et seq.
   (Plaintiffs Robertson, Ms. Gold, Mr. Gold Individually and on behalf of the Florida Class)

          210.    Plaintiffs repeat and re-allege the allegations contained in paragraphs 1–143 above,
  as if fully set forth herein.
          211.    This cause of action is brought pursuant to the Florida Deceptive and Unfair Trade
  Practices Act, section 501.201, Fla. Stat., et seq. (“FDUTPA”). The stated purpose of the FDUTPA
  is to “protect the consuming public . . . from those who engage in unfair methods of competition,
  or unconscionable, deceptive, or unfair acts or practices in the conduct of any trade or commerce.”
  § 501.202(2), Fla. Stat.
          212.    Plaintiffs and Class members are consumers as defined by section 501.203, Fla.
  Stat. Defendants are engaged in trade or commerce within the meaning of the FDUTPA.
          213.    Florida Statute section 501.204(1) declares unlawful “[u]nfair methods of
  competition, unconscionable acts or practices, and unfair or deceptive acts or practices in the
  conduct of any trade or commerce.”
          214.    Defendants’ unfair and deceptive practices as described herein are objectively
  likely to mislead – and have misled – consumers acting reasonably in the circumstances.
          215.    Defendants have violated the FDUTPA by engaging in the unfair and deceptive
  practices as described herein, which offend public policies and are immoral, unethical,
  unscrupulous and injurious to consumers.


                                                   64
Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 65 of 92




            216.   Plaintiffs and consumers in the Class have been aggrieved by Defendants’ unfair
  and deceptive practices and acts of false advertising by paying undisclosed commissions on
  cryptocurrency trades on the Voyager Platform and in the amount of their lost investments.
            217.   The harm suffered by Plaintiffs and consumers in the Class was directly and
  proximately caused by the deceptive and unfair practices of Defendants, as more fully described
  herein.
            218.   Pursuant to sections 501.211(2) and 501.2105, Fla. Stat., Plaintiffs and consumers
  in the Class make claims for actual damages, attorneys’ fees and costs.
            219.   Defendants still utilize many of the deceptive acts and practices described above.
  Plaintiffs and the other members of the Class have suffered and will continue to suffer irreparable
  harm if Defendants continue to engage in such deceptive, unfair, and unreasonable practices.
  Section 501.211(1) entitles Plaintiffs and the Class to obtain both declaratory or injunctive relief
  to put an end to Defendants’ unfair and deceptive scheme.


                                           COUNT TWELVE

                            Violations of the Florida Statute Section 517.07,
                          The Florida Securities and Investor Protection Act
   (Plaintiffs Robertson, Ms. Gold, Mr. Gold Individually and on behalf of the Florida Class)

            220.   Plaintiffs repeat and re-allege the allegations contained in paragraphs 1–143 above,
  as if fully set forth herein.
            221.   Section 517.07(1), Fla. Stat., provides that it is unlawful and a violation for any
  person to sell or offer to sell a security within the State of Florida unless the security is exempt
  under Fla. Stat. § 517.051, is sold in a transaction exempt under Fla. Stat. § 517.061, is a federally
  covered security, or is registered pursuant to Ch. 517, Fla. Stat.
            222.   Section 517.211 extends liability to any “director, officer, partner, or agent of or
  for the seller, if the director, officer, partner, or agent has personally participated or aided in making
  the sale, is jointly and severally liable to the purchaser in an action for rescission, if the purchaser
  still owns the security, or for damages, if the purchaser has sold the security.”
            223.   The Voyager Earn Program Account is a security pursuant to Fla. Stat. §
  517.021(22)(a).



                                                     65
Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 66 of 92




          224.    The EPAs sold and offered for sale to Plaintiffs and Class members were not:
              a. exempt from registration under Fla. Stat. § 517.051;
              b. a federal covered security;
              c. registered with the Office of Financial Regulations (OFR); or
              d. sold in a transaction exempt under Fla. Stat. § 517.061.
          225.    Voyager sold and offered to sell the unregistered EPAs to Plaintiffs and the
  members of the Class.
          226.    Defendants are directors, officers, partners and/or agents of Voyager pursuant to
  Fla. Stat. § 517.211.
          227.    Voyager, with Defendants’ material assistance, offered and sold the unregistered
  EPAs to Plaintiffs and the members of the Class. As a result of this assistance, Defendants violated
  Fla. Stat. § 517.07 et seq.


                                    THE LOUISIANA CLAIMS


                                        COUNT THIRTEEN
             For Violations of the Unfair Trade Practices and Consumer Protection Law,
                                           R.S. 51:1401, et seq.,
                       (Individually by Plaintiff Manganiello against Defendants)

          228.    Plaintiffs repeat and re-allege the allegations contained in paragraphs 1–143 above,
  as if fully set forth herein.
          229.    This cause of action is brought pursuant to Louisiana’s Unfair Trade Practices and
  Consumer Protection Law (“LUTPA”).
          230.    Plaintiff is a consumer as defined by section 1402(1). Defendants are engaged in
  trade or commerce as defined by section 1402(10).
          231.    Section 1405(A) declares unlawful “[u]nfair methods of competition and unfair or
  deceptive acts or practices in the conduct of any trade or commerce.”
          232.    Defendants’ unfair and deceptive practices as described herein are objectively
  likely to mislead – and have misled – consumers acting reasonably in the circumstances.




                                                   66
Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 67 of 92




          233.    Defendants have violated the LUTPA by engaging in the unfair and deceptive
  practices as described herein, which offend public policies and are immoral, unethical,
  unscrupulous and injurious to consumers.
          234.    Plaintiff has been aggrieved by Defendants’ unfair and deceptive practices and acts
  of false advertising in the amount of their lost investments.
          235.    The harm suffered by Plaintiff was directly and proximately caused by the
  deceptive and unfair practices of Defendants, as more fully described herein.
          236.    Pursuant to section 1409, Plaintiff brings this action and makes claims for actual
  damages, attorneys’ fees and costs.

                                         COUNT FOURTEEN

                           Violations of the Louisiana Section 51:705 et seq,
             (Plaintiff Manganiello Individually and on behalf of the Louisiana Class)

          237.    Plaintiffs repeat and re-allege the allegations contained in paragraphs 1–143 above,
  as if fully set forth herein.
          238.    RS 51:705 provides that it is unlawful for any person to offer for sale or sell a
  security within the State of Louisiana unless the security or transaction is exempt under RS 51:708
  or 709, is a federally covered security, or is registered.
          239.    The Voyager Earn Program Account is a security pursuant to RS 51:702 (15)(a).
          240.    The EPAs sold and offered for sale to Plaintiffs and Class members were not
  exempt from registration under RS 51:708 or 709, federal covered securities, or registered.
          241.    Voyager sold and offered to sell the unregistered EPAs to Plaintiffs and the
  members of the Class.
          242.    Voyager, with Defendants’ material assistance, offered and sold the unregistered
  EPAs to Plaintiffs and the members of the Class. As a result of this assistance, Defendants violated
  RS 51:705 et seq.




                                                    67
Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 68 of 92




                                      THE ALABAMA CLAIMS


                                          COUNT FIFTEEN
                                             Civil Conspiracy
                 (Plaintiff Newsom Individually and on behalf of the Alabama Class)
          243.     Plaintiffs repeat and re-allege the allegations contained in paragraphs 1–143 above,
  as if fully set forth herein.
          244.     Voyager and VDL represented to Plaintiffs that the Voyager Platform was “100%
  Commission-free” to unfairly obtain an edge over their competition who openly disclose the
  commissions and fees they charge on cryptocurrency trades, when Voyager did in fact did charge
  Plaintiffs and Class members undisclosed commissions on cryptocurrency trades made on the
  Deceptive Voyager Platform. Voyager and VDL also misrepresented Voyager’s FDIC insured
  status, repeatedly stating that assets held in the Deceptive Voyager Platform were as “safe” as if
  they were in a bank, misleading customers and prospective customers with the false impression
  that any cryptocurrency assets held on the Deceptive Voyager Platform were FDIC insured.
          245.     Voyager entered into one or more agreements with Defendants with the purpose of
  making these misrepresentations and/or omissions to induce Plaintiffs and consumers to invest in
  Voyager and/or use the Voyager Platform.
          246.     Defendants engaged in unlawful acts with Voyager, namely, the misrepresentations
  made to Plaintiffs concerning the undisclosed commissions on cryptocurrency trades made on the
  Voyager Platform and Voyager’s FDIC insured status.
          247.     Defendants’ conspiracy substantially assisted or encouraged the wrongdoing
  conducted by Voyager; further, Defendants had knowledge of such fraud and/or wrongdoing,
  because of their experience and relationship with Voyager, as described above and as such, knew
  that the representations made to Plaintiffs were deceitful and fraudulent.
          248.     Defendants’ conspiracy with Voyager to commit fraud caused damages to Plaintiffs
  in the amount of their lost investments.




                                                    68
Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 69 of 92




                                            COUNT SIXTEEN
                     For Violations of the Alabama Deceptive Trade Practices Act,
                   (Plaintiff Newsom Individually and on behalf of the Alabama Class)

            249.     Plaintiffs repeat and re-allege the allegations contained in paragraphs 1–143 above,
  as if fully set forth herein.
            250.     This cause of action is brought pursuant to the Alabama Trade Practices Act,
  section 8-19-1 et seq. (“Alabama DTPA”). The stated purpose of the Alabama DTPA is to “protect
  the interest of both the consuming public and the legitimate businessperson.” § 8-19-2.
            251.     Plaintiffs and Class members are consumers as defined by section 8-19-3(2).
  Defendants are engaged in trade or commerce within the meaning of the Alabama DTPA.
            252.     Section 8-19-5(27) declares unlawful “[e]ngaging in any [] unconscionable, false,
  misleading, or deceptive act or practice in the conduct of trade or commerce.”
            253.     Defendants’ unfair and deceptive practices as described herein are objectively
  likely to mislead – and have misled – consumers acting reasonably in the circumstances.
            254.     Defendants have violated the Alabama DTPA by engaging in the unfair and
  deceptive practices as described herein, which offend public policies and are immoral, unethical,
  unscrupulous and injurious to consumers.
            255.     Plaintiffs and consumers in the Class have been aggrieved by Defendants’ unfair
  and deceptive practices and acts of false advertising by paying undisclosed commissions on
  cryptocurrency trades on the Voyager Platform.
            256.     The harm suffered by Plaintiffs and consumers in the Class was directly and
  proximately caused by the deceptive and unfair practices of Defendants, as more fully described
  herein.
            257.     Pursuant to Section 8-19-10, Plaintiffs and consumers in the Class bring this cause
  of action for actual damages, attorneys’ fees and costs.
            258.     Plaintiffs and the other members of the Class have suffered and will continue to
  suffer irreparable harm if Defendants continue to engage in such deceptive, unfair, and
  unreasonable practices. Section 8-19-10entitles Plaintiffs and the Class to obtain both declaratory
  or injunctive relief to put an end to Defendants’ unfair and deceptive scheme.




                                                      69
Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 70 of 92




                                        COUNT SEVENTEEN
                          Violations of the Code of Alabama 1975, Chapter 6
                 (Plaintiff Newsom Individually and on behalf of the Alabama Class)
          259.     Plaintiffs repeat and re-allege the allegations contained in paragraphs 1–143 above,
  as if fully set forth herein.
          260.     Section 8-6-17 provides that it is unlawful for any person to sell or offer to sell a
  security within the State of Alabama unless the security is registered pursuant to Ch. 6, exempt
  from registration under § 8-6-10, or the transaction is exempt under § 8-6-11.
          261.     Section 8-6-17 also provides prohibited acts regarding the offer, sale or purchase
  of securities, including, for example:
               a. Employing any device, scheme, or artifice to defraud;
               b. Making untrue statements of a material fact or to omit to state a material fact
                   necessary in order to make the statements made, in the light of the circumstances
                   under which they are made, not misleading;
               c. Engaging in any act, practice or course of business which operates or would operate
                   as a fraud or deceit upon any person.
          262.     The Voyager Earn Program Account is a security pursuant to § 8-6-2(10).
          263.     The EPAs sold and offered for sale to Plaintiffs and Class members were not:
               a. registered;
               b. exempt from registration under § 8-6-10; or
               c. part of a transaction exempt under § 8-6-11.
          264.     Voyager sold and offered to sell the unregistered EPAs to Plaintiffs and the
  members of the Class.
          265.     Voyager, with Defendants’ material assistance, offered and sold the unregistered
  EPAs to Plaintiffs and the members of the Class. As a result of this assistance, Defendants violated
  Chapter 6.




                                                    70
Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 71 of 92




                                     THE VIRGINIA CLAIMS
                                        COUNT EIGHTEEN
                            Aiding and Abetting Breach of Fiduciary Duty
                  (Plaintiff Ayer Individually and on behalf of the Virginia Class)
          266.    Plaintiffs repeat and re-allege the allegations contained in paragraphs 1–143 above,
  as if fully set forth herein.
          267.    As alleged above, Voyager breached its fiduciary duties to Plaintiffs.
          268.    Defendants substantially assisted or encouraged the wrongdoing that constituted
  the breach of fiduciary duty owed by Voyager by publicly supporting and endorsing Voyager and
  encouraging Plaintiffs to invest in Voyager; in doing so, Defendants made material
  misrepresentations and/or omitted material facts concerning Voyager to Plaintiffs, as described
  above. For example, Defendant Ehrlich misrepresented the extent of the FDIC insurance on USD
  holdings and misled customers with the false impression that each Voyager customer could hold
  up to $250,000 in their individual Voyager account wallets and avail themselves of that important
  federal protection in the event Voyager failed.
          269.    Defendants pushed these false representations, knowing full well they were false,
  and lent their credibility as experienced investors to dupe the public into investing into the
  Deceptive Voyager Platform, through press conference and via social media, which contained
  clear misstatements and omitted material facts that should have been disclosed to Plaintiffs, and
  by other actions described in this complaint.
          270.    Defendants’ aiding and abetting the breach of fiduciary duty caused damages to
  Plaintiffs in the amount of their lost investments.


                                         COUNT NINETEEN
                                           Civil Conspiracy
                  (Plaintiff Ayer Individually and on behalf of the Virginia Class)
          271.    Plaintiffs repeat and re-allege the allegations contained in paragraphs 1–143 above,
  as if fully set forth herein.
          272.    Voyager and VDL represented to Plaintiffs that the Voyager Platform was “100%
  Commission-free” to unfairly obtain an edge over their competition who openly disclose the
  commissions and fees they charge on cryptocurrency trades, when Voyager did in fact did charge


                                                    71
Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 72 of 92




  Plaintiffs and Class members undisclosed commissions on cryptocurrency trades made on the
  Deceptive Voyager Platform. Voyager and VDL also misrepresented Voyager’s FDIC insured
  status, repeatedly stating that assets held in the Deceptive Voyager Platform were as “safe” as if
  they were in a bank, misleading customers and prospective customers with the false impression
  that any cryptocurrency assets held on the Deceptive Voyager Platform were FDIC insured.
          273.    Voyager entered into one or more agreements with Defendants with the purpose of
  making these misrepresentations and/or omissions to induce Plaintiffs and consumers to invest in
  Voyager and/or use the Voyager Platform.
          274.    Defendants engaged in unlawful acts with Voyager, namely, the misrepresentations
  made to Plaintiffs concerning the undisclosed commissions on cryptocurrency trades made on the
  Voyager Platform and Voyager’s FDIC insured status.
          275.    Defendants’ conspiracy substantially assisted or encouraged the wrongdoing
  conducted by Voyager; further, Defendants had knowledge of such fraud and/or wrongdoing,
  because of their experience and relationship with Voyager, as described above and as such, knew
  that the representations made to Plaintiffs were deceitful and fraudulent.
          276.    Defendants’ conspiracy with Voyager to commit fraud caused damages to Plaintiffs
  in the amount of their lost investments.


                                         COUNT TWENTY
                       For Violations of the Virginia Consumer Protective Act,
                                  § 59.1-196 et seq, Code of Virginia
                  (Plaintiff Ayer Individually and on behalf of the Virginia Class)

          277.    Plaintiffs repeat and re-allege the allegations contained in paragraphs 1–143 above,
  as if fully set forth herein.
          278.    This cause of action is brought pursuant to the Virginia Consumer Protection Act
  of 1977 (“VCPA”). The stated purpose of the VCPA is to “promote fair and ethical standards of
  dealings between suppliers and the consuming public.” § 59.1-197.
          279.    Plaintiffs and Class members are consumers as defined by § 59.1-198. Defendants
  are “supplier(s)” and engage in “consumer transaction(s)” as defined by the Act.
          280.    Section 59.1-200 declares unlawful “[u]sing any [] deception, fraud, false pretense,
  false promise, or misrepresentation in connection with a consumer transaction.”


                                                   72
Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 73 of 92




          281.    Defendants have violated the VCPA by engaging in the unfair, fraudulent, and
  deceptive practices as described herein.
          282.    Plaintiffs and consumers in the Class have been aggrieved by Defendants’ unfair,
  fraudulent, and deceptive practices and acts in the amount of their lost investments.
          283.    The harm suffered by Plaintiffs and consumers in the Class was directly and
  proximately caused by the unfair, fraudulent, and deceptive practices of Defendants, as more fully
  described herein.
          284.    Pursuant to section 59.1-204, Plaintiffs and consumers in the Class make claims for
  actual damages, attorneys’ fees and costs.

                                         COUNT TWENTY-ONE
                        Violations of Section 13.1-501 et seq, Code of Virginia
                  (Plaintiff Ayer Individually and on behalf of the Virginia Class)
          285.    Plaintiffs repeat and re-allege the allegations contained in paragraphs 1–143 above,
  as if fully set forth herein.
          286.    Section 13.1-507 provides that it is unlawful for any person to sell or offer to sell a
  security “unless (i) the security is registered under this chapter, (ii) the security or transaction is
  exempted by this chapter, or (iii) the security is a federal covered security.”
          287.    Section 13.1-502 makes it unlawful “for any person in the offer or sale of any
  securities, directly or indirectly,”
              a. “employ any device, scheme or artifice to defraud”;
              b. “obtain money or property by means of any untrue statement of a material fact or
                  any omission to state a material fact necessary in order to make the statements
                  made, in the light of the circumstances under which they were made, not
                  misleading,” or
              c. “engage in any transaction, practice or course of business which operates or would
                  operate as a fraud or deceit upon the purchaser.”
          288.    The Voyager Earn Program Account is a security pursuant to Section 13.1-501.
          289.    The Voyager EPAs offered for sale to Plaintiffs and Class members have not been
  registered, are not exempt from registration, and are not federal securities.




                                                    73
Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 74 of 92




          290.    In promoting the Voyager EPAs and encouraging Plaintiffs and Class members to
  invest in Voyager, Defendants made untrue statement of a material fact or any omission to state a
  material fact necessary in order to make the statements made, in the light of the circumstances
  under which they were made, not misleading, concerning the Voyager EPAs and the Voyager
  Platform, as described above.
          291.    Defendants assisted in and actively participated in Voyager’s offer and sale of the
  unregistered Voyager EPAs to Plaintiffs and the members of the Class.
          292.    As a result of these actions, Defendants violated Sections 13.1-501 et seq.


                                   THE CALIFORNIA CLAIMS
                                      COUNT TWENTY-TWO
                            Aiding and Abetting Breach of Fiduciary Duty
          (Plaintiffs Dorn and Gates Individually and on behalf of the California Class)
          293.    Plaintiffs repeat and re-allege the allegations contained in paragraphs 1–143 above,
  as if fully set forth herein.
          294.    As alleged above, Voyager breached its fiduciary duties to Plaintiffs.
          295.    Defendants substantially assisted or encouraged the wrongdoing that constituted
  the breach of fiduciary duty owed by Voyager by publicly supporting and endorsing Voyager and
  encouraging Plaintiffs to invest in Voyager; in doing so, Defendants made material
  misrepresentations and/or omitted material facts concerning Voyager to Plaintiffs, as described
  above. For example, Defendant Ehrlich misrepresented the extent of the FDIC insurance on USD
  holdings and misled customers with the false impression that each Voyager customer could hold
  up to $250,000 in their individual Voyager account wallets and avail themselves of that important
  federal protection in the event Voyager failed.
          296.    Defendants pushed these false representations, knowing full well they were false,
  and lent their credibility as experienced investors to dupe the public into investing into the
  Deceptive Voyager Platform, through press conference and via social media, which contained
  clear misstatements and omitted material facts that should have been disclosed to Plaintiffs, and
  by other actions described in this complaint.
          297.    Defendants’ aiding and abetting the breach of fiduciary duty caused damages to
  Plaintiffs in the amount of their lost investments.


                                                    74
Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 75 of 92




                                     COUNT TWENTY-THREE
  For Violations of the Unfair Competition Law Business & Professions Code § 17200, et seq.
          (Plaintiffs Dorn and Gates Individually and on behalf of the California Class)

          298.    Plaintiffs repeat and re-allege the allegations contained in paragraphs 1–143 above,

  as if fully set forth herein.

          299.    California’s Unfair Competition Law, Business & Professions Code §§ 17200 et

  seq. (the “UCL”) prohibits acts of unlawful and unfair competition, including any “unlawful,

  unfair or fraudulent business act or practice,” any “unfair, deceptive, untrue or misleading

  advertising” and any act prohibited by Business & Profession Code §17500.

          300.    Defendants have committed business acts and practices that violate the UCL by

  aiding and abetting the breaches of fiduciary duties, fraudulent and unfair conduct and unlawful

  conduct. Defendants’ conduct as alleged above constitutes unlawful competition in that, for the

  reasons set forth above, said acts and practices violate the Corporations Code.

          301.    The conduct of Defendants as alleged above also constitutes unfair competition in

  that, for the reasons set forth above, the acts and practices offend public policy and are unethical,

  oppressive, and unscrupulous, and are substantially injurious to the public.

          302.    Defendants’ conduct was a proximate cause of the injuries to Plaintiffs and the

  California Class alleged herein, and it caused and continues to cause substantial injury to Plaintiffs

  and the members of the California Class. By reason of the foregoing, Defendants should be

  required to pay restitution to Plaintiffs and members of the California Class.




                                                   75
Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 76 of 92




                                      COUNT TWENTY-FOUR
                                         Violations of the CSL
          (Plaintiffs Dorn and Gates Individually and on behalf of the California Class)
          303.    Plaintiffs repeat and re-allege the allegations contained in paragraphs 1–143 above,
  as if fully set forth herein.
          304.    California Corp. Code § 25110 prohibits the offer or sale by any person in
  California of securities that are not qualified through registration. California Corp. Code § 25503
  affords a statutory cause of action to victimized investors for violations of Section 25110. Finally,
  California Corp. Code § 25504.1 extends liability under Section 25503 to any person who
  materially assists in a violation of Section 25110 and makes them jointly and severally liable with
  any other person liable under Section 25503.
          305.    Voyager, with Defendants’ material assistance, offered and sold the EPAs
  Securities in California without being properly registered or qualified for offer or sale either with
  any federal or California regulator.
          306.    Plaintiffs contend that secondary liability for materially assisting a strict liability
  violation of the qualification requirements of Section 25110 does not require proof that Defendants
  intended “to deceive or defraud.” However, Plaintiffs in the alternative contend that even if so,
  Defendants’ knowledge of and participation in Voyager’s non-compliance with the CSL
  establishes their intent to deceive investors regarding the EPAs.
          307.    California Corp. Code § 25210(b) provides: No person shall, … on behalf of an
  issuer, effect any transaction in, or induce or attempt to induce the purchase or sale of, any security
  in this state unless [a licensed] broker-dealer and agent have complied with any rules as the
  commissioner may adopt for the qualification and employment of those agents.
          308.    Defendants breached Section 25210(b) by encouraging Voyager to offer and sell
  the EPAs Securities despite the fact that such securities were not qualified under the CSL.
          309.    California Corp. Code § 25501.5 affords a statutory cause of action to victimized
  investors for violations of Section 25210(b).
          310.    California Corp. Code § 25401 prohibits fraud in the offer or sale by any person in
  California of securities. California Corp. Code § 25501 affords a statutory cause of action to
  victimized investors for violations of Section 25401. Finally, California Corp. Code § 25504.1
  extends liability under Section 25503 to any person who materially assists in a violation of Section



                                                    76
Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 77 of 92




  25401 with the intent to deceive or defraud, and makes them jointly and severally liable with any
  other person liable under Section 25503.
          311.    Voyager, with Defendants’ material assistance, offered and sold the EPAs
  Securities in California by means of any written or oral communication that includes an untrue
  statement of a material fact or omits to state a material fact necessary to make the statements made,
  in the light of the circumstances under which the statements were made, not misleading.
          312.    Defendants are accordingly joint and severally liable to Plaintiffs for rescissionary
  damages under Cal. Corp. Code. § 25504.1.
          313.    Plaintiffs hereby conditionally tender their Voyager Securities in accordance with
  Cal. Corp. Code § 25503.



                                   THE PENNSYLVANIA CLAIMS
                                      COUNT TWENTY-FIVE
                                     Aiding and Abetting Fraud
             (Plaintiff Peters Individually and on behalf of the Pennsylvania subclass)
          314.    Plaintiffs repeat and re-allege the allegations contained in paragraphs 1–143 above,
  as if fully set forth herein.
          315.    Voyager and VDL represented to Plaintiffs that the Voyager Platform was “100%
  Commission-free” to unfairly obtain an edge over their competition who openly disclose the
  commissions and fees they charge on cryptocurrency trades, when Voyager did in fact did charge
  Plaintiffs and Class members undisclosed commissions on cryptocurrency trades made on the
  Deceptive Voyager Platform. Voyager and VDL also misrepresented Voyager’s FDIC insured
  status, repeatedly stating that assets held in the Deceptive Voyager Platform were as “safe” as if
  they were in a bank, misleading customers and prospective customers with the false impression
  that any cryptocurrency assets held on the Deceptive Voyager Platform were FDIC insured.
          316.    Voyager made these misrepresentations and/or omitted material facts to the
  Plaintiffs via its misconduct.
          317.    Defendants substantially assisted or encouraged the wrongdoing done by Voyager
  to Plaintiffs by publicly supporting and endorsing Voyager and encouraging Plaintiffs to invest in
  Voyager; in doing so, Defendants made material misrepresentations and/or omitted material facts
  concerning Voyager to Plaintiffs, as described above. For example, Defendant Ehrlich


                                                   77
Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 78 of 92




  misrepresented the extent of the FDIC insurance on USD holdings and misled customers with the
  false impression that each Voyager customer could hold up to $250,000 in their individual Voyager
  account wallets and avail themselves of that important federal protection in the event Voyager
  failed.
            318.   Further, Defendants had knowledge of such fraud because of their experience and
  relationship with Voyager, as described above and as such, knew that the representations made to
  Plaintiffs were deceitful and fraudulent.
            319.   Defendants substantively participated in the fraud by pushing these false
  representations, knowing full well they were false, and lending their credibility as experienced
  investors to dupe the public into investing into the Deceptive Voyager Platform, through press
  conference and via social media, which contained clear misstatements and omitted material facts
  that should have been disclosed to Plaintiffs, and by other actions described in this complaint.
            320.   Defendants’ aiding and abetting the fraud done by Voyager caused damages to
  Plaintiffs in the amount of their lost investments.

                                        COUNT TWENTY-SIX
                            Aiding and Abetting Breach of Fiduciary Duty
              (Plaintiff Peters Individually and on behalf of the Pennsylvania subclass)
            321.   Plaintiffs repeat and re-allege the allegations contained in paragraphs 1–143 above,
  as if fully set forth herein.
            322.   As alleged above, Voyager breached its fiduciary duties to Plaintiffs.
            323.   Defendants substantially assisted or encouraged the wrongdoing that constituted
  the breach of fiduciary duty owed by Voyager by publicly supporting and endorsing Voyager and
  encouraging Plaintiffs to invest in Voyager; in doing so, Defendants made material
  misrepresentations and/or omitted material facts concerning Voyager to Plaintiffs, as described
  above. For example, Defendant Ehrlich misrepresented the extent of the FDIC insurance on USD
  holdings and misled customers with the false impression that each Voyager customer could hold
  up to $250,000 in their individual Voyager account wallets and avail themselves of that important
  federal protection in the event Voyager failed.
            324.   Defendants pushed these false representations, knowing full well they were false,
  and lent their credibility as experienced investors to dupe the public into investing into the



                                                    78
Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 79 of 92




  Deceptive Voyager Platform, through press conference and via social media, which contained
  clear misstatements and omitted material facts that should have been disclosed to Plaintiffs, and
  by other actions described in this complaint.
          325.    Defendants’ aiding and abetting the breach of fiduciary duty caused damages to
  Plaintiffs in the amount of their lost investments.


                                     COUNT TWENTY-SEVEN
                                             Civil Conspiracy
             (Plaintiff Peters Individually and on behalf of the Pennsylvania subclass)
          326.    Plaintiffs repeat and re-allege the allegations contained in paragraphs 1–143 above,
  as if fully set forth herein.
          327.    Voyager and VDL represented to Plaintiffs that the Voyager Platform was “100%
  Commission-free” to unfairly obtain an edge over their competition who openly disclose the
  commissions and fees they charge on cryptocurrency trades, when Voyager did in fact did charge
  Plaintiffs and Class members undisclosed commissions on cryptocurrency trades made on the
  Deceptive Voyager Platform. Voyager and VDL also misrepresented Voyager’s FDIC insured
  status, repeatedly stating that assets held in the Deceptive Voyager Platform were as “safe” as if
  they were in a bank, misleading customers and prospective customers with the false impression
  that any cryptocurrency assets held on the Deceptive Voyager Platform were FDIC insured.
          328.    Voyager entered into one or more agreements with Defendants with the purpose of
  making these misrepresentations and/or omissions to induce Plaintiffs and consumers to invest in
  Voyager and/or use the Voyager Platform.
          329.    Defendants engaged in unlawful acts with Voyager, namely, the misrepresentations
  made to Plaintiffs concerning the undisclosed commissions on cryptocurrency trades made on the
  Voyager Platform and Voyager’s FDIC insured status.
          330.    Defendants’ conspiracy substantially assisted or encouraged the wrongdoing
  conducted by Voyager; further, Defendants had knowledge of such fraud and/or wrongdoing,
  because of their experience and relationship with Voyager, as described above and as such, knew
  that the representations made to Plaintiffs were deceitful and fraudulent.
          331.    Defendants’ conspiracy with Voyager to commit fraud caused damages to Plaintiffs
  in the amount of their lost investments.



                                                   79
Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 80 of 92




                                      COUNT TWENTY-EIGHT
   For Violations of the Pennsylvania Unfair Trade Practices and Consumer Protection Law,
                                       73 Pa. Stat. §§ 201-1 et seq
               (Plaintiff Peters Individually and on behalf of the Pennsylvania subclass)
          332.     Plaintiffs repeat and re-allege the allegations contained in paragraphs 1–143 above,
  as if fully set forth herein.
          333.     The Pennsylvania Unfair Trade Practices and Consumer Protection Law, 73 Pa.
  Stat. §§ 201-1 et seq, prohibits unfair or deceptive acts or practices in the conduct of any trade or
  commerce as defined by subclauses (i) through (xxi) of Section 201-2(4).
          334.     Defendants have engaged in, and continue to engage in, deceptive acts and
  misrepresentations in the conduct of their trade and/or commerce in the State of Pennsylvania, as
  described more fully hereinabove.
          335.     Defendants’ statements regarding the Voyager Platform being “100% Commission-
  Free” were false and misleading because Voyager in fact did charge Plaintiffs and Class members
  undisclosed commissions on cryptocurrency trades made on the Voyager Platform. Defendants’
  representations regarding Voyager’s FDIC insured status were also false.
          336.     Defendant’s acts and omissions constitute unfair trade practices because they are
  fraudulent or deceptive and create a likelihood of misunderstanding. See 73 Pa. Stat. § 201-
  2(4)(xxi).
          337.     Plaintiffs and the Class are “person(s)” as that term is defined in 73 Pa. Stat. § 201-
  2(2).
          338.     Plaintiffs and the Class have suffered an ascertainable loss of moneys or property
  as a direct and proximate result of Defendants’ unconscionable practices described above.
  Plaintiffs and the Class have a private right of action against Defendants and they are entitled to
  recover, in addition to their actual damages, an award of reasonable attorney’s fees, filing fees and
  reasonable costs of suit. 73 Pa. Stat. § 201-9.2(a).
          339.     Plaintiffs and the Class have suffered, and will continue to suffer, irreparable harm
  if Defendants continue to engage in such deceptive, unfair, and unreasonable practices.




                                                     80
Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 81 of 92




                                       COUNT TWENTY-NINE
                        Violations of the Pennsylvania Securities Act of 1972,
                                     70 Penn. Stat. §§ 1-102 et seq
             (Plaintiff Peters Individually and on behalf of the Pennsylvania subclass)
          340.    Plaintiffs repeat and re-allege the allegations contained in paragraphs 1–143 above,
  as if fully set forth herein.
          341.    70 Penn. Stat. § 1-201 provides that it is unlawful for any person to sell or offer to
  sell a security within the State of Pennsylvania unless the security is exempt under the act, is a
  federally covered security, or is registered pursuant to the act.
          342.    70 Penn. Stat. § 1-401 makes it unlawful “for any person, in connection with the
  offer, sale or purchase of any security in this State, directly or indirectly: (a) To employ any device,
  scheme or artifice to defraud; (b) To make any untrue statement of a material fact or to omit to
  state a material fact necessary in order to make the statements made, in the light of the
  circumstances under which they are made, not misleading; or (c) To engage in any act, practice or
  course of business which operates or would operate as a fraud or deceit upon any person.”
          343.    70 Penn. Stat. § 1-503 extends liability to any person who “materially aids” in a
  violation of the Pennsylvania Securities Act and makes them jointly and severally liable with any
  other person liable under the Act.
          344.    The Voyager EPA is a security pursuant to 70 Penn. Stat. § 1-102(t).
          345.    The Voyager EPAs offered for sale to Plaintiffs and Class members were not
  registered, were not exempt from registration, and were not federally securities.
          346.    In promoting the Voyager EPAs and encouraging Plaintiffs and Class members to
  invest, Defendants made untrue statements of a material fact or omitted to state a material fact
  necessary in order to make the statements made, in the light of the circumstances under which they
  are made, not misleading, concerning Voyager EPAs, including but not limited to, that the Voyager
  Platform was “100% Commission-free” and that any cryptocurrency assets held on the Deceptive
  Voyager Platform were FDIC insured, as described above.
          347.    As a result of these actions, Defendants violated 70 Penn. Stat. § 1-201 and § 1-401
  and are liable to Plaintiffs pursuant to 70 Penn. Stat. § 1-501.




                                                    81
Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 82 of 92




                                     THE TENNESSEE CLAIMS
                                           COUNT THIRTY
                                      Aiding and Abetting Fraud
             (Plaintiff Ehrentraut Individually and on behalf of the Tennessee subclass)
            348.   Plaintiffs repeat and re-allege the allegations contained in paragraphs 1–143 above,
  as if fully set forth herein.
            349.   Voyager and VDL represented to Plaintiffs that the Voyager Platform was “100%
  Commission-free” to unfairly obtain an edge over their competition who openly disclose the
  commissions and fees they charge on cryptocurrency trades, when Voyager did in fact did charge
  Plaintiffs and Class members undisclosed commissions on cryptocurrency trades made on the
  Deceptive Voyager Platform. Voyager and VDL also misrepresented Voyager’s FDIC insured
  status, repeatedly stating that assets held in the Deceptive Voyager Platform were as “safe” as if
  they were in a bank, misleading customers and prospective customers with the false impression
  that any cryptocurrency assets held on the Deceptive Voyager Platform were FDIC insured.
            350.   Voyager made these misrepresentations and/or omitted material facts to the
  Plaintiffs via its misconduct.
            351.   Defendants substantially assisted or encouraged the wrongdoing done by Voyager
  to Plaintiffs by publicly supporting and endorsing Voyager and encouraging Plaintiffs to invest in
  Voyager; in doing so, Defendants made material misrepresentations and/or omitted material facts
  concerning Voyager to Plaintiffs, as described above. For example, Defendant Ehrlich
  misrepresented the extent of the FDIC insurance on USD holdings and misled customers with the
  false impression that each Voyager customer could hold up to $250,000 in their individual Voyager
  account wallets and avail themselves of that important federal protection in the event Voyager
  failed.
            352.   Further, Defendants had knowledge of such fraud because of their experience and
  relationship with Voyager, as described above and as such, knew that the representations made to
  Plaintiffs were deceitful and fraudulent.
            353.   Defendants substantively participated in the fraud by pushing these false
  representations, knowing full well they were false, and lending their credibility as experienced
  investors to dupe the public into investing into the Deceptive Voyager Platform, through press




                                                    82
Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 83 of 92




  conference and via social media, which contained clear misstatements and omitted material facts
  that should have been disclosed to Plaintiffs, and by other actions described in this complaint.
          354.    Defendants’ aiding and abetting the fraud done by Voyager caused damages to
  Plaintiffs in the amount of their lost investments.

                                       COUNT THIRTY-ONE
                            Aiding and Abetting Breach of Fiduciary Duty
            (Plaintiff Ehrentraut Individually and on behalf of the Tennessee subclass)
          355.    Plaintiffs repeat and re-allege the allegations contained in paragraphs 1–143 above,
  as if fully set forth herein.
          356.    As alleged above, Voyager breached its fiduciary duties to Plaintiffs.
          357.    Defendants substantially assisted or encouraged the wrongdoing that constituted
  the breach of fiduciary duty owed by Voyager by publicly supporting and endorsing Voyager and
  encouraging Plaintiffs to invest in Voyager; in doing so, Defendants made material
  misrepresentations and/or omitted material facts concerning Voyager to Plaintiffs, as described
  above. For example, Defendant Ehrlich misrepresented the extent of the FDIC insurance on USD
  holdings and misled customers with the false impression that each Voyager customer could hold
  up to $250,000 in their individual Voyager account wallets and avail themselves of that important
  federal protection in the event Voyager failed.
          358.    Defendants pushed these false representations, knowing full well they were false,
  and lent their credibility as experienced investors to dupe the public into investing into the
  Deceptive Voyager Platform, through press conference and via social media, which contained
  clear misstatements and omitted material facts that should have been disclosed to Plaintiffs, and
  by other actions described in this complaint.
          359.    Defendants’ aiding and abetting the breach of fiduciary duty caused damages to
  Plaintiffs in the amount of their lost investments.




                                                    83
Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 84 of 92




                                      COUNT THIRTY-TWO
                                             Civil Conspiracy
            (Plaintiff Ehrentraut Individually and on behalf of the Tennessee subclass)
          360.    Plaintiffs repeat and re-allege the allegations contained in paragraphs 1–143 above,
  as if fully set forth herein.
          361.    Voyager and VDL represented to Plaintiffs that the Voyager Platform was “100%
  Commission-free” to unfairly obtain an edge over their competition who openly disclose the
  commissions and fees they charge on cryptocurrency trades, when Voyager did in fact did charge
  Plaintiffs and Class members undisclosed commissions on cryptocurrency trades made on the
  Deceptive Voyager Platform. Voyager and VDL also misrepresented Voyager’s FDIC insured
  status, repeatedly stating that assets held in the Deceptive Voyager Platform were as “safe” as if
  they were in a bank, misleading customers and prospective customers with the false impression
  that any cryptocurrency assets held on the Deceptive Voyager Platform were FDIC insured.
          362.    Voyager entered into one or more agreements with Defendants with the purpose of
  making these misrepresentations and/or omissions to induce Plaintiffs and consumers to invest in
  Voyager and/or use the Voyager Platform.
          363.    Defendants engaged in unlawful acts with Voyager, namely, the misrepresentations
  made to Plaintiffs concerning the undisclosed commissions on cryptocurrency trades made on the
  Voyager Platform and Voyager’s FDIC insured status.
          364.    Defendants’ conspiracy substantially assisted or encouraged the wrongdoing
  conducted by Voyager; further, Defendants had knowledge of such fraud and/or wrongdoing,
  because of their experience and relationship with Voyager, as described above and as such, knew
  that the representations made to Plaintiffs were deceitful and fraudulent.
          365.    Defendants’ conspiracy with Voyager to commit fraud caused damages to Plaintiffs
  in the amount of their lost investments.




                                                   84
Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 85 of 92




                                      COUNT THIRTY-THREE
                     For Violations of the Tennessee Consumer Protection Act,
                                     Tenn. Code § 47-18-101 et seq
            (Plaintiff Ehrentraut Individually and on behalf of the Tennessee subclass)
          366.    Plaintiffs repeat and re-allege the allegations contained in paragraphs 1–143 above,
  as if fully set forth herein.
          367.    This cause of action is brought pursuant to the Tennessee Consumer Protection Act
  (“TCPA”), Tenn. Code § 47-18-101 et seq.
          368.     The stated purpose of the TCPA is to “protect consumers and legitimate business
  enterprises from those who engage in unfair or deceptive acts or practices in the conduct of any
  trade or commerce in part or wholly within th[e] state.” Tenn. Code § 47-18-102(2).
          369.    Plaintiffs and Class members are consumers as defined by Tenn. Code § 47-18-
  103(2). Defendants are engaged in trade or commerce as defined by Tenn. Code § 47-18-103(19).
          370.    The TCPA declares unlawful “[u]nfair or deceptive acts or practices affecting the
  conduct of any trade or commerce.” Tenn. Code § 47-18-104(a). This includes actions which cause
  “likelihood of confusion or of misunderstanding as to the source, sponsorship, approval or
  certification of goods” and cause “likelihood of confusion or misunderstanding as to affiliation,
  connection or association with, or certification by, another.” Tenn. Code § 47-18-104(2)-(3).
          371.    Defendants’ unfair and deceptive practices as described herein are objectively
  likely to cause—and have caused— confusion and misunderstanding to consumers acting
  reasonably in the circumstances.
          372.    Defendants have violated the TCPA by engaging in the unfair and deceptive
  practices as described herein, which offend public policies and are immoral, unethical,
  unscrupulous and injurious to consumers.
          373.    Plaintiffs allege that the unfair and deceptive acts and practices described herein
  are distinct from the marketing or sale of a security, which is expressly excluded by Tenn. Code §
  47-18-109(h).
          374.    Plaintiffs and consumers in the Class have been aggrieved by Defendants’ unfair
  and deceptive practices in the amount of their lost investments.




                                                   85
Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 86 of 92




            375.   The harm suffered by Plaintiffs and consumers in the Class was directly and
  proximately caused by the deceptive and unfair practices of Defendants, as more fully described
  herein.
            376.   Pursuant to Tenn. Code § 47-18-109, Plaintiffs and consumers in the Class make
  claims for actual damages, attorneys’ fees and costs.


                                       COUNT THIRTY-FOUR
                            Violations of Tennessee Securities Act of 1980,
                                         Tenn. Code § 48-1-122
             (Plaintiff Ehrentraut Individually and on behalf of the Tennessee subclass)

            377.   Plaintiffs repeat and re-allege the allegations contained in paragraphs 1–143 above,
  as if fully set forth herein.
            378.   Tenn. Code § 48-1-104(a) makes it unlawful to sell a security in Tennessee unless
  the security is registered, exempted, or the security is a covered security as defined in the act.
            379.   Tenn. Code § 48-1-121 makes it unlawful “for any person, in connection with the
  offer, sale or purchase of any security in this state, directly or indirectly, to: (1) Employ any device,
  scheme, or artifice to defraud; (2) Make any untrue statement of a material fact or omit to state a
  material fact necessary in order to make the statements made, in the light of the circumstances
  under which they are made, not misleading; or (3) Engage in any act, practice, or course of business
  which operates or would operate as a fraud or deceit upon any person.”
            380.   The Voyager EPA is a security pursuant to Tenn. Code § 4-1-102(20)(A).
            381.   The Voyager EPAs offered for sale to Plaintiffs and Class members were not
  registered, were not exempt from registration, and were not covered.
            382.   In promoting the Voyager EPAs and encouraging Plaintiffs and Class members to
  invest, Defendants made untrue statements of a material fact or omitted to state a material fact
  necessary in order to make the statements made, in the light of the circumstances under which they
  are made, not misleading, concerning Voyager EPAs, including but not limited to, that the Voyager
  Platform was “100% Commission-free” and that any cryptocurrency assets held on the Deceptive
  Voyager Platform were FDIC insured, as described above.




                                                     86
Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 87 of 92




            383.   As a result of these actions, Defendants violated Tenn. Code § 48-1-104(a) and §
  48-1-121 and are liable to Plaintiffs pursuant to Tenn. Code § 48-1-122.



                                     THE OKLAHOMA CLAIMS
                                       COUNT THIRTY-FIVE
                                      Aiding and Abetting Fraud
              (Plaintiff Garrison Individually and on behalf of the Oklahoma subclass)
            384.   Plaintiffs repeat and re-allege the allegations contained in paragraphs 1–143 above,
  as if fully set forth herein.
            385.   Voyager and VDL represented to Plaintiffs that the Voyager Platform was “100%
  Commission-free” to unfairly obtain an edge over their competition who openly disclose the
  commissions and fees they charge on cryptocurrency trades, when Voyager did in fact did charge
  Plaintiffs and Class members undisclosed commissions on cryptocurrency trades made on the
  Deceptive Voyager Platform. Voyager and VDL also misrepresented Voyager’s FDIC insured
  status, repeatedly stating that assets held in the Deceptive Voyager Platform were as “safe” as if
  they were in a bank, misleading customers and prospective customers with the false impression
  that any cryptocurrency assets held on the Deceptive Voyager Platform were FDIC insured.
            386.   Voyager made these misrepresentations and/or omitted material facts to the
  Plaintiffs via its misconduct.
            387.   Defendants substantially assisted or encouraged the wrongdoing done by Voyager
  to Plaintiffs by publicly supporting and endorsing Voyager and encouraging Plaintiffs to invest in
  Voyager; in doing so, Defendants made material misrepresentations and/or omitted material facts
  concerning Voyager to Plaintiffs, as described above. For example, Defendant Ehrlich
  misrepresented the extent of the FDIC insurance on USD holdings and misled customers with the
  false impression that each Voyager customer could hold up to $250,000 in their individual Voyager
  account wallets and avail themselves of that important federal protection in the event Voyager
  failed.
            388.   Further, Defendants had knowledge of such fraud because of their experience and
  relationship with Voyager, as described above and as such, knew that the representations made to
  Plaintiffs were deceitful and fraudulent.




                                                    87
Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 88 of 92




          389.    Defendants substantively participated in the fraud by pushing these false
  representations, knowing full well they were false, and lending their credibility as experienced
  investors to dupe the public into investing into the Deceptive Voyager Platform, through press
  conference and via social media, which contained clear misstatements and omitted material facts
  that should have been disclosed to Plaintiffs, and by other actions described in this complaint.
          390.    Defendants’ aiding and abetting the fraud done by Voyager caused damages to
  Plaintiffs in the amount of their lost investments.

                                        COUNT THIRTY-SIX
                            Aiding and Abetting Breach of Fiduciary Duty
             (Plaintiff Garrison Individually and on behalf of the Oklahoma subclass)
          391.    Plaintiffs repeat and re-allege the allegations contained in paragraphs 1–143 above,
  as if fully set forth herein.
          392.    As alleged above, Voyager breached its fiduciary duties to Plaintiffs.
          393.    Defendants substantially assisted or encouraged the wrongdoing that constituted
  the breach of fiduciary duty owed by Voyager by publicly supporting and endorsing Voyager and
  encouraging Plaintiffs to invest in Voyager; in doing so, Defendants made material
  misrepresentations and/or omitted material facts concerning Voyager to Plaintiffs, as described
  above. For example, Defendant Ehrlich misrepresented the extent of the FDIC insurance on USD
  holdings and misled customers with the false impression that each Voyager customer could hold
  up to $250,000 in their individual Voyager account wallets and avail themselves of that important
  federal protection in the event Voyager failed.
          394.    Defendants pushed these false representations, knowing full well they were false,
  and lent their credibility as experienced investors to dupe the public into investing into the
  Deceptive Voyager Platform, through press conference and via social media, which contained
  clear misstatements and omitted material facts that should have been disclosed to Plaintiffs, and
  by other actions described in this complaint.
          395.    Defendants’ aiding and abetting the breach of fiduciary duty caused damages to
  Plaintiffs in the amount of their lost investments.




                                                    88
Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 89 of 92




                                     COUNT THIRTY-SEVEN
                                             Civil Conspiracy
             (Plaintiff Garrison Individually and on behalf of the Oklahoma subclass)
          396.    Plaintiffs repeat and re-allege the allegations contained in paragraphs 1–143 above,
  as if fully set forth herein.
          397.    Voyager and VDL represented to Plaintiffs that the Voyager Platform was “100%
  Commission-free” to unfairly obtain an edge over their competition who openly disclose the
  commissions and fees they charge on cryptocurrency trades, when Voyager did in fact did charge
  Plaintiffs and Class members undisclosed commissions on cryptocurrency trades made on the
  Deceptive Voyager Platform. Voyager and VDL also misrepresented Voyager’s FDIC insured
  status, repeatedly stating that assets held in the Deceptive Voyager Platform were as “safe” as if
  they were in a bank, misleading customers and prospective customers with the false impression
  that any cryptocurrency assets held on the Deceptive Voyager Platform were FDIC insured.
          398.    Voyager entered into one or more agreements with Defendants with the purpose of
  making these misrepresentations and/or omissions to induce Plaintiffs and consumers to invest in
  Voyager and/or use the Voyager Platform.
          399.    Defendants engaged in unlawful acts with Voyager, namely, the misrepresentations
  made to Plaintiffs concerning the undisclosed commissions on cryptocurrency trades made on the
  Voyager Platform and Voyager’s FDIC insured status.
          400.    Defendants’ conspiracy substantially assisted or encouraged the wrongdoing
  conducted by Voyager; further, Defendants had knowledge of such fraud and/or wrongdoing,
  because of their experience and relationship with Voyager, as described above and as such, knew
  that the representations made to Plaintiffs were deceitful and fraudulent.
          401.    Defendants’ conspiracy with Voyager to commit fraud caused damages to Plaintiffs
  in the amount of their lost investments.




                                                   89
Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 90 of 92




                                       COUNT THIRTY-EIGHT
   For Violations of the Oklahoma Consumer Protection Act, Stat. Tit. 15, Section 751 et seq
              (Plaintiff Garrison Individually and on behalf of the Oklahoma subclass)
            402.   Plaintiffs repeat and re-allege the allegations contained in paragraphs 1–143 above,
  as if fully set forth herein.
            403.   This cause of action is brought pursuant to the Oklahoma Consumer Protection Act,
  Okla. Stat. tit. 15, § 751 et seq.
            404.   The Oklahoma Consumer Protection Act provides that an “unfair trade practice” is
  “any practice which offends established public policy or if the practice is immoral, unethical,
  oppressive, unscrupulous or substantially injurious to consumers.” See § 752(14). It declares
  unlawful any unfair or deceptive trade practice “as defined in Section 752.” § 753(20).
            405.   Plaintiffs and Class members are persons as defined by section 752(1). Defendants
  are engaged in a “consumer transaction” as defined by section 752(2).
            406.   Defendants have violated the Oklahoma Consumer Protection Act by engaging in
  the unfair and deceptive practices as described herein, which offend public policies and are
  immoral, unethical, unscrupulous and injurious to consumers.
            407.   Plaintiffs and consumers in the Class have been aggrieved by Defendants’ unfair
  and deceptive practices in the amount of their lost investments.
            408.   The harm suffered by Plaintiffs and consumers in the Class was directly and
  proximately caused by the deceptive and unfair practices of Defendants, as more fully described
  herein.
            409.   Pursuant to section 761.1 of the Act, Plaintiffs and consumers in the Class make
  claims for actual damages, attorneys’ fees and costs.




                                                    90
Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 91 of 92




                                        COUNT THIRTY-NINE

                    Violations of the Oklahoma Uniform Securities Act of 1980,
                                   Okla. Stat. Tit. 71, §§ 1-101 et seq
             (Plaintiff Garrison Individually and on behalf of the Oklahoma subclass)

          410.    Plaintiffs repeat and re-allege the allegations contained in paragraphs 1–143 above,
  as if fully set forth herein.
          411.    71 Okla. Stat. § 1-102(32) makes it unlawful “for a person, in connection with the
  offer, sale, or purchase of a security, directly or indirectly”:
              a. “employ a device, scheme, or artifice to defraud”;
              b. “make an untrue statement of a material fact or to omit to state a material fact
                  necessary in order to make the statement made, in the light of the circumstances
                  under which it is made, not misleading”; or
              c. “engage in an act, practice, or course of business that operates or would operate as
                  a fraud or deceit upon another person.”
          412.    The Voyager EPA is a security pursuant to 71 Okla. Stat. § 1-102(32).
          413.    In promoting the Voyager EPAs and encouraging Plaintiffs and Class members to
  invest with Voyager, Defendants made untrue statements of a material fact or omitted to state a
  material fact necessary in order to make the statements made, in the light of the circumstances
  under which they are made, not misleading, concerning the Voyager EPAs, including but not
  limited to, that the Voyager Platform was “100% Commission-free” and that any cryptocurrency
  assets held on the Deceptive Voyager Platform were FDIC insured, as described above.
          414.    As a result of these actions, Defendants violated 71 Okla. Stat. § 1-102(32) and are
  liable to Plaintiffs pursuant to 71 Okla. Stat. § 1-509.




                                                     91
Case 1:22-cv-22538-RKA Document 1 Entered on FLSD Docket 08/10/2022 Page 92 of 92




                                     PRAYER FOR RELIEF
  WHEREFORE, Plaintiffs pray for a judgment on behalf of themselves and the Classes:
            a. Certifying the Classes as requested herein;
            b. Awarding actual, direct and compensatory damages;
            c. Awarding restitution and disgorgement of revenues if warranted;
            d. Awarding declaratory relief as permitted by law or equity, including declaring the
               Defendants’ practices as set forth herein to be unlawful;
            e. Awarding injunctive relief as permitted by law or equity, including enjoining the
               Defendants from continuing those unlawful practices as set forth herein, and
               directing the Defendants to identify, with Court supervision, victims of their
               conduct and pay them all money they are required to pay;
            f. Awarding statutory and multiple damages, as appropriate;
            g. Awarding attorneys’ fees and costs; and
            h. Providing such further relief as may be just and proper.


                                  DEMAND FOR JURY TRIAL
        Plaintiffs hereby demand a jury trial as to all claims so triable.


  Dated: August 10, 2022                                Respectfully submitted,

                                                       By: /s/ Adam Moskowitz
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                                                  92
